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     9
                                  UNITED STATES DISTRICT COURT
    10
                             CENTRAL DISTRICT OF CALIFORNIA
    11

    12    MGP IX LINCOLN STATION, LLC, a           Case No. CV12-8239-PA (FFMx)
          Delaware limited liability company,
    13                                             Assigned to: Hon. Percy Anderson
                     Plaintiff,
    14
          v.                                       PLAINTIFFS AND COUNTER-
    15                                             DEFENDANT MGP IX LINCOLN
          CITY OF CERRITOS, a California,          STATION, LLC’S PROFFER OF THE
    16    municipal corporation; and DOES 1- 10,   EXPERT OPINIONS OF JEFF
                                                   DAGDIGIAN
    17               Defendants.
    18
          CITY OF CERRITOS,
    19
                      Counter-Claimant,            Trial:
    20
          v.                                       Date: March 25, 2014
    21                                             Time: 9:00 a.m.
          MGP IX LINCOLN STATION, LLC, a           Courtroom: 15
    22    Delaware limited liability company,
    23                Counter-Defendants.
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     1          Plaintiff and Counter-defendant MGP IX Lincoln Station, LLC (“MGP”)
     2    hereby submits, pursuant to the Court’s In Chambers – Order, dated February 21,
     3    2014, its Proffer of Dr. Jeffrey V. Dagdigian’s Expert Opinions (“Proffer”). MGP’s
     4    Proffer sets forth below: (I) each of Dr. Dagdigian’s expert opinions that will be given
     5    at trial, including the basis and relevance of each expert opinion; and (II) an
     6    identification of each document, by title, author, and date, relied on by Dr. Dagdigian
     7    in forming his opinions. Dr. Dagdigian did not rely on any statements of persons in
     8    formulating his opinions. As agreed with by the Court clerk, the documents relied on
     9    by Dr. Dagdigian have been submitted to the Court on a CD in electronic format that
    10    is being filed manually concurrently herewith. Dr. Dagdigian’s curriculum vitae is
    11    attached hereto as Exhibit 472. The Expert Report and Rebuttal Report identifying
    12    Dr. Dagdigian as MGP’s expert are attached hereto as Exhibits 445 and 130,
    13    respectively.
    14     I.     OPINIONS SET FORTH IN DR. DAGDIGIAN’S EXPERT REPORT
    15          The following opinions are set forth in Dr. Dagdigian’s expert report, attached
    16    hereto as Trial Exhibit 445.
    17          A.        Principal Expert Opinions
    18                      1.         Opinion 1: PCE has been found to exist in soil and PCE,
    19                                 TCE and 1,4-dioxane have been found to exist in the
    20                                 underlying groundwater at the Lincoln Station Shopping
    21                                 Center (“the Property”) at concentrations that are orders of
    22                                 magnitude higher than the MCLs or other regulatory limits
    23                                 that federal and state agencies have determined do not pose
    24                                 a risk to human health or the environment.
    25                            a.      Basis for Opinion 1:
    26          The basis for Opinion 1 is the results of soil and groundwater sampling that
    27    began in 1999 and as of September 2013 had been performed at 77 grab sample
    28    locations and 12 monitoring wells. The area of sampling extends from the commercial
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     1    property located north of South Street on the north to south of the residences on
     2    Wyeth Drive on the south, and the full width of the Property from the east to west.
     3          The grab sample locations included 22 single-depth samples collected from the
     4    first encountered groundwater and 55 multi-depth locations where up to five different
     5    depth intervals (up to a total depth of 54 feet bgs) were sampled. The 12 monitoring
     6    wells are screened to total depths from 20 to 35 feet bgs.
     7          The evaluation of groundwater contamination was performed using primarily
     8    the results of the more recent (2007 to date) depth-discrete grab samples because
     9    these represent the most recent and depth-discrete concentrations detected within each
    10    of the particular groundwater zones. In total, this amounted to 55 locations and 198
    11    individual groundwater samples.
    12                       b.     Relevance of Opinion 1:
    13          This opinion is relevant to the case because it establishes that there has been a
    14    release of hazardous substances at the Property, and the results of the environmental
    15    investigation and associated plume maps provide the most likely explanation for how
    16    PCE contaminated the soil at the Property and TCE and PCE got into the Sewer Line
    17    and were therefore able to leak out of the Sewer Line and contaminate the
    18    groundwater underlying the Property.1 Thus, this opinion is also relevant in that it
    19    helps establish that there was a release of hazardous substances from the Sewer Line
    20    owned and operated by the City, and that there has been a release at the Property
    21    which is owned and operated by the City. It is also relevant to help show that the City
    22    cannot establish the third party defense under CERCLA; specifically, the City cannot
    23    establish that it used due care given that its Sewer Line contributed and caused the
    24    contamination at issue and/or given its management of the Property. This opinion is
    25

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    26     Where testimony such as the foregoing is relevant to establishing MGP’s 42 U.S.C.
          §9607(a) cost recovery claim, it is additionally relevant to establishing MGP’s claim
    27    for contribution/indemnity pursuant to California’s Carpenter-Presley-Tanner
          Hazardous Substances Account Act (“HSAA”) §25300 et seq.
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     1    also relevant to a number of MGP’s affirmative defenses, including unclean hands,
     2    waiver, third party defense, equitable allocation, set off, unjust enrichment, attorneys’
     3    fees improper, compliance with all laws, and bona fide prospective purchase. It is
     4    relevant to these affirmative defenses because, among other things, it helps establish
     5    that the City’s conduct caused the contamination at issue and that MGP should not
     6    bear any costs or liabilities associated with such contamination.
     7                   2.         Opinion 2: The chlorinated solvents that have impacted the
     8                              Property originated from two separate sources: PCE from
     9                              Crown Cleaners and TCE from S&J Chevrolet (“S&J”),
    10                              both of which were previous occupants of the Property. The
    11                              PCE originated from spillage or discharge onto the concrete
    12                              floor near the dry cleaning machine and into a floor drain or
    13                              floor sink at Crown Cleaners that were connected to an on-
    14                              site lateral that connected the Property to the City’s sewer
    15                              line in South Street (“Sewer Line”). The TCE originated
    16                              from discharges of metal degreasing and other solvent-
    17                              containing fluids into drains or a sump at S&J that were
    18                              connected to an on-site lateral that also connected to the
    19                              Sewer Line. No other sources of chlorinated solvents have
    20                              been found to exist at the Property or at any other location
    21                              that could have impacted the Property.
    22                         a.      Basis for Opinion 2:
    23          The Property was used as an automobile dealership that included vehicle repair
    24    and maintenance facilities (Allison Specialists, S&J Automotive, and S&J Chevrolet)
    25    from the 1950s through 1981 with some operations appearing to have continued on
    26    the Property until the late 1980s. S&J Chevrolet and Allison Specialists operated as a
    27    full-service automotive dealership with automotive repair from 1949 to approximately
    28    1981, before relocating to the “Cerritos Auto Square” area on the west side of I-605.
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     1    Based on a review of facility maps and building permits, it appears that the dealership
     2    conducted automotive sales, automobile and truck repair, and auto body repair,
     3    including painting.
     4          As an automotive repair facility, it is likely that S&J used solvents, including
     5    TCE, in their parts cleaning operations and that these hazardous wastes were
     6    commonly disposed to the sewer. S&J was issued an Industrial Wastewater
     7    Discharge Permit in September of 1976. In this permit, they were instructed to
     8    “continue the program of regular clarifier maintenance and cleaning at intervals
     9    frequent enough to prevent a build-up of grit, oil, or grease which may enter the
    10    sewer.” S&J was cited for “an illegal and unsafe paint mixing room near a paint
    11    spray booth” in 1955 and had a permit for a repair garage dating back to 1965.
    12          Crown Cleaners operated in tenant suite 114 on the Property from
    13    approximately 1989 to 1999. A Permit to Operate was issued on December 26, 1989
    14    by the SCAQMD for one “Synthetic Solvent Dry Cleaning Unit, Renzacci, Model
    15    Serena Sun 530, with a built-in Refrigerated Vapor Condenser.” On August 30, 1999,
    16    the dry cleaner vacated the tenant space, removing all dry-cleaning machinery,
    17    process lines, equipment, and chemicals.
    18          The dry cleaning equipment was located in the southwestern corner of Unit
    19    114. A boiler was located in the south central part of the tenant space with a floor
    20    drain (floor sink) immediately northeast of the boiler. The back entrance to the tenant
    21    space and the bathroom were located in the southeastern corner of Unit 114.
    22          On-site dry cleaning operations occurred from early 1990 to 1999. The dry
    23    cleaning equipment was approved for operation on December 26, 1989. Dry cleaning
    24    operations were terminated in 1999 and all equipment was removed by August 1999.
    25    The last waste disposal manifest for Crown Cleaners was dated August 13, 1999.
    26          PCE is the primary dry cleaning chemical used in the United States. Based on
    27    manifests and the SCAQMD dry cleaning equipment permit, PCE was used in the dry
    28    cleaning operations at Crown Cleaners. Other chemicals may have also been used in
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     1    spot-treating but no records exist to confirm this.
     2          TCE is not typically used in dry cleaning operations, though it has been used as
     3    a paint, oil and grease carrier solvent for spotting agents.
     4          Copies of waste manifests were obtained from the DTSC for waste generation
     5    in 1997 and 1998. Although copies weren’t available for 1995 or 1996, a manifest
     6    summary was available for review. Fifteen to 23 gallons of PCE waste were
     7    manifested at Crown Cleaners approximately every six months from 1995 through
     8    1999. Filters were manifested once during that time period.
     9          In a 1998 pre-acquisition Phase I Environmental Site Assessment (ESA)
    10    performed by EMG for Bixby, the consultant observed evidence of PCE staining on
    11    the floor near the dry cleaning equipment. EMG also noted that property
    12    management was obtaining proposals for epoxy coating for the floor and for the
    13    installation of secondary containment for the dry cleaning equipment.
    14                        b.     Relevance of Opinion 2:
    15          This opinion is relevant to the case because it establishes that there has been a
    16    release of hazardous substances at the Property. Although the location of the
    17    contamination plume is itself sufficient to establish a release from the Sewer Line, the
    18    evidence regarding operations and hazardous materials handled at the Property supply
    19    additional evidence that helps establish a release from the Sewer Line. Thus, this
    20    opinion is also relevant in that it helps establish that there was a release of hazardous
    21    substances from the Sewer Line owned and operated by the City, and that there has
    22    been a release at the Property which is owned and operated by the City. It is also
    23    relevant to help show that the City cannot establish the third party defense under
    24    CERCLA; specifically, the City cannot establish that it used due care given that its
    25    Sewer Line contributed and caused the contamination at issue and/or given its
    26    management of the Property. This opinion is also relevant to a number of MGP’s
    27    affirmative defenses, including unclean hands, waiver, third party defense, equitable
    28    allocation, set off, unjust enrichment, attorneys’ fees improper, compliance with all
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     1    laws, and bona fide prospective purchase. It is relevant to these affirmative defenses
     2    because, among other things, it helps establish that the City’s conduct caused the
     3    contamination at issue and that MGP should not bear any costs or liabilities
     4    associated with such contamination.
     5                   3.       Opinion 3: The spill or discharge of PCE onto the concrete
     6                            floor near the dry cleaning machine at Crown Cleaners
     7                            resulted in a relatively small release to the underlying soil
     8                            and groundwater; however, it was large enough to require a
     9                            response.
    10          This PCE release was properly and completely characterized in the soil gas,
    11    soil, and groundwater matrices at the Property.
    12          Soil gas and soil sampling revealed the presence of PCE contamination directly
    13    below the stained concrete floor near the dry cleaning machine.
    14          Shallow groundwater sampling up-gradient and down-gradient from the
    15    location of the spillage or discharge onto the concrete floor demonstrated that the
    16    PCE release to the soil had reached the groundwater; however, the groundwater was
    17    not significantly impacted.
    18          Soil Vapor Extraction mitigation measures implemented by Bixby Lincoln
    19    were successful in removing PCE from the soil and soil gas, and indirectly from
    20    groundwater. Had there been no other contamination at the Property, Bixby would
    21    have likely received a “no further action” letter from the LACFD or the RWQCB for
    22    all environmental media. At most, a small amount of shallow soil would have been
    23    required to be excavated to receive a “no further action” letter.
    24          Subsequent groundwater sampling detected additional higher concentrations of
    25    PCE and TCE in the groundwater up-gradient from the dry cleaners. Additional
    26    testing requested by the RWQCB confirmed that there was another (up-gradient)
    27    source. The RWQCB concluded that PCE and TCE were released from the Sewer
    28    Line and were impacting the Property. Because of this conclusion, the RWQCB
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     1    rejected site closure with respect to the release from Crown Cleaners and requested
     2    further site characterization activities.
     3                        a.     Basis for Opinion 3:
     4          Subsurface investigations began at the Property in 1998. These investigations
     5    were performed by Environmental Support Technologies (EST) from 1998 to 2006,
     6    Geosyntec Consultants (“Geosyntec”) from 2007 to 2011, and TOR Environmental
     7    from 2011 to the present. The Property investigations have been overseen by the Los
     8    Angeles Regional Water Quality Control Board since 2000 as Case #0921.
     9          In January 1998, Environmental Support Technologies (EST) installed soil gas
    10    probes at eight locations under the former dry cleaner and two locations
    11    approximately 10 feet south of the former dry cleaner; EST collected ten 5-foot deep
    12    and two 15-foot deep soil gas samples for on- Site analysis of VOCs.
    13          The results of the 1998 investigation indicated the presence of PCE ranging
    14    from 8 to 17,700 μg/L in soil gas under the former dry cleaner location. Based on the
    15    results of the soil gas analyses, four soil borings were advanced to 5 feet below
    16    ground surface, and soil samples were collected at 1 and 5 feet below grade. PCE was
    17    detected in soil at concentrations ranging from 0.230 to 55 milligrams per kilogram
    18    (mg/kg) at 1 foot below grade. The highest PCE concentrations were detected close
    19    to the dry cleaning machine and near the boiler room at the back of the dry cleaner
    20    facility, approximately 1 foot below grade.
    21          In July 1998, EST installed two vapor extraction wells at the Site screened at 3
    22    feet to 10 feet below grade (top of concrete floor slab). Beginning on August 3, 1998,
    23    extracted soil vapor was treated by carbon adsorption and the system was operated
    24    until November 12, 1998, when the system began to extract groundwater due to a
    25    rising groundwater table. The system was restarted several times after repairs, and
    26    restarted in January 1999 with a third extraction well located adjacent to a boring
    27    where the highest PCE concentrations were detected in soil. This well was screened
    28    from 1 foot to 5 feet below grade. Groundwater continued to be pulled into the wells,
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     1    and the system was shut down on February 28, 1999. The treatment system was
     2    demobilized and removed in April 1999.
     3          Concentrations of total VOCs in the influent to the SVE system were initially
     4    in the range of 150 parts per million (ppm) at the beginning of remediation and
     5    asymptotically dropped to the range of 2 to 10 ppm at the time the system was
     6    removed. EST collected interim soil gas and soil samples from the Site in October
     7    1998; analytical results indicated significant reduction in PCE concentrations at
     8    locations that were previously sampled in January 1998.
     9          Additional soil samples were collected from beneath the former dry cleaner
    10    facility in November and December 1999 to evaluate post-remediation concentrations
    11    of PCE in soil. Based on the concentrations of PCE in the soil and groundwater at
    12    and down-gradient from Crown Cleaners in 2000, it is likely that the RWQCB would
    13    have granted closure if there had been no release at the Sewer Line. This closure
    14    would have been issued because the soil vapor extraction remediation was successful
    15    and reduced concentrations of PCE in soil and soil vapor, as well as indirectly
    16    remediating groundwater beneath the Property. The remaining concentrations of PCE
    17    in soil were not likely to negatively impact groundwater as demonstrated by the
    18    application of the VOC attenuation factor method calculations in the 1996 RWQCB
    19    Remediation Guidance for Petroleum & VOC Impacted Sites. The remaining
    20    concentrations in groundwater were within one order of magnitude of the MCL.
    21                       b.     Relevance of Opinion 3:
    22          This opinion is relevant to the case because it supports MGP’s contention that
    23    the release of PCE to the soil at Crown Cleaners was a relatively minor event that was
    24    fully remediated by Bixby and that the significant groundwater contamination that
    25    underlies the property is from an upgradient source that has been identified by the
    26    regulatory oversight agency as the Sewer Line. Thus, this opinion is also relevant in
    27    that it helps establish that there was a release of hazardous substances from the Sewer
    28    Line owned and operated by the City, and that there has been a release at the Property
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      1    which is owned and operated by the City. It is also relevant to help show that the City
      2    cannot establish the third party defense under CERCLA; specifically, the City cannot
      3    establish that it used due care given that its Sewer Line contributed and caused the
      4    contamination at issue and/or given its management of the Property. This opinion is
      5    also relevant to a number of MGP’s affirmative defenses, including unclean hands,
      6    waiver, third party defense, equitable allocation, set off, unjust enrichment, attorneys’
      7    fees improper, compliance with all laws, and bona fide prospective purchase. It is
      8    relevant to these affirmative defenses because, among other things, it helps establish
      9    that the City’s conduct caused the contamination at issue and that MGP should not
     10    bear any costs or liabilities associated with such contamination.
     11                   4.         Opinion 4. Virtually all of the PCE that has been found to
     12                              exist in groundwater at the Property originated from PCE
     13                              that was discharged into the floor drain or floor sink at
     14                              Crown Cleaners that were connected by a lateral to the
     15                              Sewer Line. That PCE was released into the environment
     16                              (soil and then groundwater) through cracks and other
     17                              defects in the Sewer Line.
     18                         a.      Basis for Opinion 4:
     19          Circumferential cracks were identified during video inspections of the sewer
     20    pipe performed in 2010. There were no other connections or inlets to the Sewer Line
     21    identified upstream of the Lincoln Station Shopping Center or the former S&J and
     22    Crown Cleaners.
     23          Based on the distribution of chemicals found in the groundwater and the
     24    elevated concentrations of TCE and PCE found immediately beneath and
     25    downgradient of the Sewer Line, it is clear that significant releases of TCE and PCE
     26    occurred from the Sewer Line in the area downstream of Manhole No. 2.
     27          Based on the additional distance and depths to which the TCE plume has
     28    migrated, combined with evidence that the TCE is not a result of the degradation of
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      1    PCE, the release date of TCE from the sewer preceded that of PCE, which is
      2    consistent with the different time periods during which S&J and Crown Cleaners
      3    occupied the Property.
      4                           b.      Relevance of Opinion 4:
      5          This opinion is relevant to the case because it provides the most likely
      6    explanation for how PCE got into the Sewer Line, where it was able to leak into the
      7    underlying soil and groundwater through defects in the Sewer Line. This opinion is
      8    relevant to the case because it establishes that there has been a release of hazardous
      9    substances at the Property. Although the location of the contamination plume is itself
     10    sufficient to establish a release from the Sewer Line, the evidence regarding
     11    operations and hazardous materials handled at the Property supply additional
     12    evidence that helps establish a release from the Sewer Line. Thus, this opinion is also
     13    relevant in that it helps establish that there was a release of hazardous substances from
     14    the Sewer Line owned and operated by the City, and that there has been a release at
     15    the Property which is owned and operated by the City. It is also relevant to help show
     16    that the City cannot establish the third party defense under CERCLA; specifically, the
     17    City cannot establish that it used due care given that its Sewer Line contributed and
     18    caused the contamination at issue and/or given its management of the Property. This
     19    opinion is also relevant to a number of MGP’s affirmative defenses, including
     20    unclean hands, waiver, third party defense, equitable allocation, set off, unjust
     21    enrichment, attorneys’ fees improper, compliance with all laws, and bona fide
     22    prospective purchase. It is relevant to these affirmative defenses because, among
     23    other things, it helps establish that the City’s conduct caused the contamination at
     24    issue and that MGP should not bear any costs or liabilities associated with such
     25    contamination.
     26                     5.         Opinion 5. Virtually all of the TCE that has been found to
     27                                exist in groundwater at the Property originated from TCE
     28                                that was discharged into drains or a sump at S&J that was
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      1                          also connected by a lateral to the Sewer Line. That TCE was
      2                          released into the environment (soil and groundwater)
      3                          through cracks and other defects in the Sewer Line. The 1,4-
      4                          dioxane that exists in the groundwater at the Property is a
      5                          stabilizer that was used to keep TCE from degrading and
      6                          undoubtedly originated from the same source.
      7          S&J conducted automotive repair and body shop operations on the Property.
      8    TCE was commonly used as a degreaser in automotive repair and body shop
      9    operations during the time period S&J occupied the Property.
     10          The TCE plume in groundwater on the Property is larger than the PCE plume.
     11    Since PCE and TCE migrate in groundwater at comparable rates, a larger TCE plume
     12    is indicative of an older TCE release. The relative sizes of the TCE and PCE plumes
     13    are consistent with the difference in time periods between when Crown Cleaners and
     14    S&J occupied the Property.
     15          The TCE concentrations in groundwater on the Property are significantly
     16    higher than the PCE concentrations. Thus, the presence of an aerobic environment
     17    and the absence of significant amounts of PCE and TCE degradation products in the
     18    groundwater indicate that the TCE is not present as a result of PCE degradation or
     19    dechlorination and results from a separate release.
     20          Significant levels of 1,4-dioxane were found in the groundwater beneath the
     21    Sewer Line. 1,4-dioxane is a known stabilizer for TCE and confirms that the TCE was
     22    released separately from the PCE. In addition, 1,4-dioxane is a known additive in
     23    automotive brake cleaners, which are also known to contain chlorinated solvents.
     24          TCE may be used in limited quantities as a spot cleaner in a dry cleaning
     25    operation but it is not normally used in large quantities in dry-cleaning operations.
     26          No TCE or very small concentrations of TCE were found in the soil beneath
     27    the dry cleaning machine at Crown Cleaners. This indicates that TCE was not present
     28    with the PCE originating from Crown Cleaners. These observations support the
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      1    conclusion that the TCE was introduced into the Sewer Line as a result of its use at a
      2    separate location.
      3                         a.   Basis for Opinion 5:
      4          Groundwater conditions and chemical data show that no significant
      5    dechlorination is occurring and that the PCE and TCE found in the groundwater at the
      6    Property are from separate releases from the Sewer Line. The analytical results show
      7    a lack of significant concentrations of chemical daughter products such as DCE, vinyl
      8    chloride, ethene, and ethane that would be formed by the reductive dechlorination of
      9    PCE and TCE. In addition, if dechlorination were occurring, the groundwater would
     10    typically show evidence of reducing conditions. Based on the relatively infrequent
     11    and, when present, relatively low concentrations of these daughter products, in
     12    conjunction with the aerobic conditions in the groundwater, it is virtually certain that
     13    the high concentrations of TCE in groundwater are from a separate release and not
     14    from the degradation of PCE.
     15          In addition, the microorganisms that dechlorinate PCE and TCE require
     16    anaerobic conditions and will not function under aerobic/oxidizing conditions. At a
     17    minimum, iron reducing conditions are needed to support the microorganisms that
     18    carry out the initial dechlorination steps of PCE and TCE.
     19          To study the groundwater conditions as they relate to the potential
     20    dechlorination of PCE and TCE, Geosyntec performed field measurements and
     21    collected groundwater samples for geochemical analysis in May 2008. The conditions
     22    in the saturated zone were found to be primarily aerobic as evidenced by mostly
     23    positive field measurements of oxidation/reduction potential (ORP) and
     24    concentrations of dissolved oxygen (DO). Furthermore, no dissolved iron, methane,
     25    ethane, or ethene were detected in the samples and nitrate and sulfate concentrations
     26    did not decrease along the pathway of groundwater flow direction. These conditions
     27    are not conducive to the reductive dechlorination of PCE and TCE.
     28          Geosyntec concluded that: 1) the aerobic groundwater conditions together with
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      1    the lack of significant vinyl chloride and ethene concentrations confirmed that the
      2    dechlorination of PCE and TCE is not occurring at the Property; and 2) The presence
      3    of high concentrations of TCE in the study area were therefore likely the result of a
      4    release of TCE from the Sewer Line.
      5          Dechlorination of PCE results in the formation of TCE and the subsequent
      6    daughter products in decreasing concentrations. When PCE is degraded in the
      7    environment, the amount of TCE formed is normally significantly less than the
      8    amount of PCE left in the environment. When anaerobic conditions are operative, the
      9    concentration of TCE is a small fraction of the PCE concentration. Additionally,
     10    under aerobic conditions, PCE degradation is very slow or does not occur.
     11          When TCE is found at significantly greater concentrations than PCE, one can
     12    conclude that the TCE is not a result of the degradation of PCE. The maximum
     13    concentration of TCE found in groundwater (14,500 ug/L) compared to that of PCE
     14    (7,500 ug/L) is inconsistent with the degradation of PCE and shows that the TCE is
     15    from a separate source.
     16          With respect to1,4-dioxane, the chemical was detected in groundwater from
     17    approximately 400 to 4,000 ug/L at sample locations extending from South Street to
     18    the center of the Property. Not all groundwater samples were analyzed for 1,4-
     19    dioxane, so its extent has not been fully defined, but its presence is an important
     20    consideration as it relates to the other chemicals found in groundwater. 1,4-dioxane
     21    was used widely as a stabilizer in numerous solvents and chemical products,
     22    particularly for 1,1,1-TCA. 1,4-dioxane was known to be used as a TCE stabilizer
     23    prior to 1980 and was also cited as a stabilizer for TCE in a 1983 U.S. patent. 1,4-
     24    dioxane may also be associated with some PCE/1,1,1-TCA-based automotive
     25    products, such as brake cleaning solutions.
     26          In addition, a recent paper suggests that 1,4-dioxane can occur as a common
     27    co-contaminant in groundwater with TCE. Studies performed by the U.S. Air Force
     28    Center for Environmental Excellence at 49 installations where testing was performed
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      1    for both TCE and 1,4- dioxane have found that 1,4-dioxane is a common co-
      2    contaminant in groundwater with TCE. The study found that 64% of all 1,4-dioxane
      3    detections were associated with TCE independent of 1,1,1-TCA. See also the basis
      4    for Opinions 2 and 3 above.
      5                          b.      Relevance of Opinion 5:
      6          This opinion is relevant to the case because it provides the most likely
      7    explanation for the difference in concentrations and relative sizes of the TCE and
      8    PCE plumes that are impacting the Property, as well as the presence of 1,4-dioxane
      9    contamination. This opinion is relevant to the case because it establishes that there
     10    has been a release of hazardous substances at the Property. Although the location of
     11    the contamination plume is itself sufficient to establish a release from the Sewer Line,
     12    the evidence regarding operations and hazardous materials handled at the Property
     13    supply additional evidence that helps establish a release from the Sewer Line. Thus,
     14    this opinion is also relevant in that it helps establish that there was a release of
     15    hazardous substances from the Sewer Line owned and operated by the City, and that
     16    there has been a release at the Property which is owned and operated by the City. It is
     17    also relevant to help show that the City cannot establish the third party defense under
     18    CERCLA; specifically, the City cannot establish that it used due care given that its
     19    Sewer Line contributed and caused the contamination at issue and/or given its
     20    management of the Property. This opinion is also relevant to a number of MGP’s
     21    affirmative defenses, including unclean hands, waiver, third party defense, equitable
     22    allocation, set off, unjust enrichment, attorneys’ fees improper, compliance with all
     23    laws, and bona fide prospective purchase. It is relevant to these affirmative defenses
     24    because, among other things, it helps establish that the City’s conduct caused the
     25    contamination at issue and that MGP should not bear any costs or liabilities
     26    associated with such contamination.
     27                    6.         Opinion 6: The conclusion that cracks and other defects in
     28                               the City’s Sewer Line are the source of the PCE, TCE and
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      1                     1,4-dioxane that has been released into the environment and
      2                     has contaminated groundwater at the Property is supported
      3                     by, among other evidence, the following factors:
      4                    The highest concentrations of PCE and TCE in groundwater are
      5                     located directly under or shortly down-gradient from three
      6                     circumferential cracks that have been identified in the Sewer
      7                     Line, a location in that line that is just downstream from the
      8                     point where the sewer laterals that serviced S&J and Crown
      9                     Cleaners were connected to the Sewer Line.
     10                    The differences in vertical and horizontal distribution of PCE
     11                     and TCE in groundwater, as well as the relative locations and
     12                     concentrations of the two chemicals, are consistent with the
     13                     Sewer Line being the source and with releases of the chemicals
     14                     from the Sewer Line at the different times that Crown Cleaners
     15                     and S&J occupied the Property.
     16                    There are no other on-site or off-site facilities that are known to
     17                     or are likely to have used PCE or TCE in their operations
     18                     located either upstream of the circumferential cracks in the
     19                     Sewer Line or up-gradient of South Street, and concentrations of
     20                     PCE and TCE just up-gradient from the Sewer Line rapidly
     21                     decrease, both of which circumstances are inconsistent with the
     22                     existence of another or a different source.
     23                    The lateral sewer lines on the Property, including the line that
     24                     serviced Crown Cleaners, have been inspected; no defects were
     25                     found and the lines, which are newer than the Sewer Line and
     26                     composed of superior materials, were found to be in good
     27                     condition.
     28                    Subsurface conditions are consistent with separate releases of
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      1                             PCE and TCE from the same location rather than degradation of
      2                             the PCE to TCE -- namely an aerobic soil environment, the
      3                             existence of higher concentrations of TCE than PCE, and a
      4                             larger plume of TCE than PCE.
      5                        a.      Basis for Opinion 6:
      6                                (1)   Potential On-Site and Off-Site Sources.
      7    Waterstone conducted a thorough investigation of available information regarding all
      8    of the on-site operations and nearby off-site properties that conceivably could have
      9    contributed to the plumes of contamination impacting the Property.              No on-site
     10    sources other than S&J and Crown Cleaners were identified. The off-site sources
     11    investigated include the following:
     12                                (2)   Yesterlaid Farms/Pioneer Mills (Egg Farm).
     13    Pioneer Mills and Yesterlaid Farms, an egg processor and sales location, was located
     14    at 11855 South Street from at least the 1940s through 1986. This facility was located
     15    north of the Property, beyond South Street. This facility received an industrial
     16    wastewater discharge permit from Sanitation Districts of Los Angeles County in 1975
     17    for the discharge of detergent and liquids from broken eggs. The facility also received
     18    a notice of violation in August 1975 for the disposal of a large quantity of egg shells
     19    to the Sewer Line. It is not likely that this facility used chlorinated solvents in their
     20    operations.
     21                                (3)   Artesia Lumber Company/Barr Lumber
     22    (Lumberyard). Artesia Lumber Company was identified at 18810 Pioneer
     23    Boulevard as early as 1910. This facility was located on the east side of Pioneer,
     24    south of the railroad tracks and north of the Property beyond South Street. Historical
     25    city directories indicate that this business was known as Barr Lumber in the 1960s
     26    and left this address by 1970. This facility is not listed in any regulatory databases. It
     27    is unlikely that this facility used chlorinated solvents in their operations.
     28                                (4)   Drycleaners. There are several dry cleaning
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      1    businesses in the vicinity of the Property as described below.
      2                                       Upgradient Drycleaners.        One dry cleaning
      3                 facility, Martell Cleaners at 18518 Pioneer Boulevard, was identified
      4                 0.35 miles north and up-gradient of the Property. This facility has
      5                 operated at this location for approximately 50 years. The dry cleaning
      6                 facilities and related operations were performed at the site from 1950 to
      7                 2003 and Martell began operations in 1957. Martell has since relocated
      8                 to 12025 South Street, east of the Property. A soil gas and indoor air
      9                 investigation was conducted at Martell Cleaners in 2009 and
     10                 groundwater monitoring was conducted quarterly through November
     11                 2009. PCE was detected in all three groundwater monitoring wells, with
     12                 the highest concentrations (up to 14,700 ug/L) in monitoring well MW-2,
     13                 which is located approximately 0.32 miles north of the Subject Property.
     14                                       Downgradient/Cross-gradient           Drycleaners.
     15                 Four dry cleaning facilities were identified down- or cross-gradient of
     16                 the Property.
     17                                          KLM Cleaners at 11938 ½ South Street is
     18                      located immediately east beyond the railroad tracks and down-
     19                      gradient of the Property. This facility has not been identified in
     20                      regulatory databases other than as a RCRA-Small Quantity
     21                      Generator.
     22                                          Weavers     Dry    Cleaner/Wells    Fine    Dry
     23                      Cleaning/Rick’s Cleaners at 19117 Pioneer Boulevard is located
     24                      approximately 700 feet west-southwest and cross-gradient of the
     25                      Property.    This facility has not been identified in regulatory
     26                      databases.
     27                                          NS Cleaners/Du Rite Cleaners at 12145 South
     28                      Street is located approximately 0.35 miles east and cross-gradient of
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      1                      the Property. This facility has not been identified in regulatory
      2                      databases.
      3                                           Continental Cleaners at 11450 South Street is
      4                      located approximately 0.35 miles west and cross-gradient of the
      5                      Property. This facility received case closure in 2001 from the Los
      6                      Angeles County Fire Department.
      7          None of these dry cleaners are in a location that corresponds with the location
      8    of the PCE plume of contamination impacting the Property and its highest
      9    concentrations.
     10                              (5)    Automotive Fueling and Service. There are several
     11    automotive fueling and repair businesses in the vicinity of the Property.
     12                                         Pep Boys Auto at 11944 South Street is located
     13                 immediately east beyond the railroad tracks and down-gradient of the
     14                 Property. This facility performs automotive repairs and is not identified
     15                 in any leak or spill regulatory databases.
     16                                         Los Angeles County Fire Station #30 at 19030
     17                 Pioneer Boulevard is located 240 feet west and cross-gradient of the
     18                 Property. According to the Geotracker database, this facility received
     19                 case closure in April 2004 as a leaking underground storage tank (LUST)
     20                 site with fuel impact to soil.
     21                                         Holmes Bros. Service Station at 11805 South
     22                 Street is located approximately 500 feet west-northwest and cross-
     23                 gradient of the Property. According to the Geotracker database, this
     24                 facility received case closure in November 1996 as a LUST site with
     25                 gasoline impact to soil only.
     26                                         Bouma Union Service/Shafer Towing/King’s
     27                 Auto & Body Shop/Turners Transmission/ at 12005 and 12015 South
     28                 Street is located approximately 800 feet east and crossgradient of the
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      1                 Property. According to the Geotracker database, this facility received
      2                 case closure in May 2005 as a LUST site with gasoline impact to the
      3                 aquifer.
      4                              (6)    Alco Chemical. Alco Chemical Company was
      5    formerly located at 19220 Pioneer Boulevard, Artesia, CA, approximately 500 feet
      6    south-southwest and down-gradient of the Property. Alco operated at this location
      7    from at least 1964 through 1972. An Application for an Industrial Waste Disposal
      8    Permit was completed on March 16, 1972. This company was a pesticide formulator
      9    and, according to the permit, would discharge approximately 25 gallons of solvents
     10    per day produced by cleaning pumps and clearing lines from various solvent tanks.
     11    The rinsewater flowed through a floor drain to an underground leaching bed.
     12    Although this facility also used solvents, it is located down-gradient of the Property
     13    and likely discharged to a separate sewer line.
     14                              (7)    Artesia Implement. Artesia Implement and Parts
     15    Company was formerly located 18824 Pioneer Boulevard, approximately 400 feet
     16    north-northwest and up-gradient of the Property. This business operated from at least
     17    1964 through 1985. An Application for an Industrial Waste Disposal Permit was
     18    completed on January 31, 1969.
     19          This company conducted the sales and service (including overhauling and
     20    painting) of industrial implements (tractors and other farming equipment). According
     21    to the permit application, they would discharge oil, mud, and water from steam
     22    cleaning activities to the sewer. By 1985, the property had been razed and industrial
     23    waste was no longer being discharged.
     24          This facility is not listed in any regulatory databases. It is unlikely that this
     25    facility used chlorinated solvents in their operations.
     26          Integrity of the On-Site Laterals: The sewer system at the Property consists of a
     27    network of four branch laterals leading northward across the center of the Property
     28    joining into a common lateral before connecting to the Sewer Line at Manhole 1. The
                                                     19
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      1    connecting sewer line originating at Crown Cleaners travels east beneath the building
      2    and enters the second branch lateral traveling north. The western buildings at the
      3    Property are serviced by a second lateral located along the western edge of the
      4    Property. This lateral enters the South Street Sewer Line at Lateral C.
      5          These lateral sewer lines were installed in approximately 1989 when Lincoln
      6    Station was constructed. According to building plans, the Lincoln Station sewer lines
      7    are constructed of 4-inch and 6-inch diameter ductile iron pipe (DIP) with a vertical
      8    fall of one percent. However, a very recent video inspection conducted by Empire for
      9    the City indicates that the laterals are actually constructed of A.B.S., which is a
     10    superior product, involving longer pipe sections connected by glued joints, that are
     11    less susceptible to leakage. No leaks or defects were detected.
     12          The Lincoln Station lateral sewer lines were also inspected by Roto-Rooter on
     13    behalf of Geosyntec on August 3, 2010. Roto-Rooter concluded that there were no
     14    cracks or breaks throughout the areas where the pipe could be visually inspected.
     15    Portions of the pipe could not be inspected due to heavy sludge, scale or water. See
     16    also basis for Opinion 5 above.
     17                        b.    Relevance of Opinion 6:
     18          This opinion is relevant to the case because it explains the basis for MGP’s
     19    contention that the Sewer Line is the source of the plumes of groundwater
     20    contamination impacting the Property and why other off-site sources or the on-site
     21    lateral sewer lines at the Property can be eliminated as possible sources. This opinion
     22    is relevant to the case because it establishes that there has been a release of hazardous
     23    substances at the Property. Although the location of the contamination plume is itself
     24    sufficient to establish a release from the Sewer Line, the evidence regarding the
     25    implausibility of other potential sources supplies additional evidence that helps
     26    establish a release from the Sewer Line. Thus, this opinion is also relevant in that it
     27    helps establish that there was a release of hazardous substances from the Sewer Line
     28    owned and operated by the City, and that there has been a release at the Property
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      1    which is owned and operated by the City. It is also relevant to help show that the City
      2    cannot establish the third party defense under CERCLA; specifically, the City cannot
      3    establish that it used due care given that its Sewer Line contributed and caused the
      4    contamination at issue and/or given its management of the Property. This opinion is
      5    also relevant to a number of MGP’s affirmative defenses, including unclean hands,
      6    waiver, third party defense, equitable allocation, set off, unjust enrichment, attorneys’
      7    fees improper, compliance with all laws, and bona fide prospective purchase. It is
      8    relevant to these affirmative defenses because, among other things, it helps establish
      9    that the City’s conduct caused the contamination at issue and that MGP should not
     10    bear any costs or liabilities associated with such contamination.
     11                   7.            Opinion 7: The City of Cerritos knew or should have
     12                                 known that chlorinated solvents would be discharged into
     13                                 the City’s sewer system and that they could be released into
     14                                 the environment through cracks and other defects in that
     15                                 system.
     16                                The City reviewed and approved Crown Cleaners plans and
     17                                 allowed Crown Cleaners to install and operate a dry cleaning
     18                                 machine at the Property without imposing any requirements
     19                                 relating to PCE discharge to the sewer.
     20                                At the time the City took such action, it was common
     21                                 knowledge among municipal sewer permitting, management
     22                                 and maintenance personnel that dry cleaning operations could
     23                                 result in PCE discharges into the sewer system that could
     24                                 impact groundwater through leakage from cracks and other
     25                                 defects in the sewer system.
     26                            a.       Basis for Opinion 7:
     27          The City exhibited knowledge concerning the management of environmental
     28    issues dating back to at least 1988, including the evaluation of soil and groundwater
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      1    contamination. In addition, the City was aware of the operations at Crown Cleaners
      2    and should therefore have been aware that cleaning solvents were likely to be entering
      3    its sewer system.
      4          In 1988, the City of Cerritos Redevelopment Agency managed the removal of
      5    the three USTs that had been used by S&J in order to prepare the Property for
      6    redevelopment as a shopping center. The Redevelopment Agency included a
      7    Department of Environmental Affairs which managed such issues. The City retained
      8    environmental consultants and worked with the environmental regulatory agency, the
      9    Los Angeles County Department of Public Works, to obtain permits, assess the extent
     10    of soil contamination around the tanks, develop a plan for soil remediation, perform
     11    groundwater monitoring, manage the disposal of contaminated soil from the site, and
     12    mitigate the contamination to the satisfaction of the regulator.
     13          The Property was redeveloped in 1988-1989 in accordance with requirements
     14    and permits from the City. An occupancy permit was issued for Crown Cleaners by
     15    the LACFD in December 1989.
     16          Although no Industrial Waste Discharge permit was issued, permitting for the
     17    floor drain at Crown Cleaners indicates that the City was aware of the plumbing
     18    connection between Crown Cleaners and the Sewer Line. A building permit for a
     19    floor sink was issued by Cerritos (through the County of Los Angeles, Department of
     20    Public Works) in November 1989.
     21          Furthermore, by 1989, it was common knowledge among municipal sewer
     22    permitting, management and maintenance personnel that dry cleaning operations
     23    posed a significant risk to groundwater, that many dry cleaning machines were
     24    designed to discharge PCE-impacted water and even pure PCE into the sewer system
     25    which could escape into soil and groundwater from cracks and other defects in sewer
     26    lines, and that this was the primary pathway by which PCE was being released into
     27    the environment.
     28          Documents obtained from LACSD identified numerous commercial and
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      1    industrial dischargers to the sewer in Cerritos. This information included the results
      2    of site inspections, wastewater analysis, and self-monitoring reports and was provided
      3    to the City on a regular basis. These reports also included Notices of Violation for
      4    non-compliance. Chlorinated solvents were found in the wastewater in samples
      5    collected in Cerritos as early as 1990. Therefore, the City had knowledge or
      6    constructive knowledge that hazardous materials were being discharged to the sewer.
      7    Annual LACSD inspection records from 1995 to 2000 noted that there was
      8    intermittent discharge to the sewer from Crown Cleaners.
      9          LACSD routinely detects VOCs in the influent at each of the treatment plants
     10    that receive wastewater from Cerritos. This is public information that the City had
     11    access to and therefore should have been aware of.
     12                           b.      Relevance of Opinion 7:
     13          This opinion is relevant to the case because it demonstrates that the City failed
     14    to exercise due care with respect to discharges into its sewer system that could be
     15    released into the environment through cracks and other defects in its sewer lines,
     16    thereby defeating any claim that the City has a third party defense to liability under
     17    CERCLA. This opinion is also relevant to a number of MGP’s affirmative defenses,
     18    including unclean hands, waiver, third party defense, equitable allocation, set off,
     19    unjust enrichment, attorneys’ fees improper, compliance with all laws, and bona fide
     20    prospective purchase. It is relevant to these affirmative defenses because, among
     21    other things, it helps establish that the City’s conduct caused the contamination at
     22    issue and that MGP should not bear any costs or liabilities associated with such
     23    contamination.
     24                     8.         Opinion 8
     25          The response that was conducted at Crown Cleaners by Bixby Lincoln, the
     26    remedial investigation of groundwater contamination, and the development of a
     27    feasibility study and RAP with respect to that contamination have been performed
     28    under the oversight and direction of the LACFD and, after groundwater
                                                         23
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      1    contamination was discovered, the RWQCB and have been conducted in a manner
      2    that is consistent with that agency’s requirements. Those actions have been and are
      3    necessary to protect public health and the environment and are being performed in a
      4    manner that substantially complies with the NCP.
      5                         a.   Basis for Opinion 8:
      6          Following implementation of the response to soil contamination at Crown
      7    Cleaners, LACFD referred the case to the RWQCB for direction and oversight of the
      8    response with respect to the related groundwater contamination. The LACFD also
      9    issued case closure for the soil contamination based on a comparison to EPA Region
     10    IX Preliminary Remediation Goals (PRGs) and the absence of any threat to public
     11    health and safety.
     12          Based on the low concentrations of PCE in the groundwater at and
     13    downgradient from Crown Cleaners in 2000, it is likely that the RWQCB would have
     14    granted closure with respect to the Property if there had been no release from the
     15    South Street Sewer Line. This closure would have been issued because SVE had been
     16    successful and concentrations of PCE in soil and soil vapor had been significantly
     17    reduced. Concentrations of PCE in groundwater beneath and downgradient of Crown
     18    Cleaners were also low and had been indirectly further reduced as a result of the SVE
     19    system’s operation. The remaining concentrations of PCE in soil were viewed as not
     20    likely to negatively impact groundwater as demonstrated by the application of the
     21    VOC attenuation factor method calculations in the 1996 RWQCB Remediation
     22    Guidance for Petroleum & VOC Impacted Sites. The remaining concentrations in
     23    groundwater were within one order of magnitude of the Maximum Contaminant
     24    Level (MCL).
     25          Since referral of the contamination in groundwater at the Property to the
     26    RWQCB, that agency has provided review, direction and oversight of all
     27    investigation activities at the Property and will be the agency to approve the
     28    feasibility study and final RAP for addressing that contamination.
                                                    24
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      1          Currently the project is within the detailed analysis phase, the last phase of the
      2    CERCLA Remedial Investigation/Feasibility Study (RI/FS) process. During detailed
      3    analysis, alternatives are evaluated in detail with respect to nine evaluation criteria
      4    developed to address the statutory requirements and preferences of CERCLA. The
      5    nine criteria include:
      6           Overall protection of human health and the environment;
      7           Compliance with applicable or relevant and appropriate requirements
      8              (ARARs);
      9           Long-term effectiveness and permanence;
     10           Reduction of toxicity, mobility, or volume;
     11           Short-term effectiveness;
     12           Implementability;
     13           Cost;
     14           State acceptance; and
     15           Community acceptance.
     16          The alternatives are analyzed individually against each criterion and then
     17    compared against one another to determine their respective strengths and weaknesses
     18    and to identify the key trade-offs that must be balanced for the site. The results of the
     19    detailed analysis are summarized so that an appropriate remedy consistent with
     20    CERCLA can be selected.
     21          Community relations activities serve to keep communities informed of the
     22    activities at the site and help the lead agency anticipate and respond to community
     23    concerns. CERCLA requires publication of a notice of the proposed remedial action
     24    in a local newspaper of general circulation and a "reasonable opportunity" for the
     25    public to comment on the proposed plan. Community relations are expected to
     26    include the following items:
     27           Preparation of a Community Relations Plan (CRP) to document the
     28              community relations history and the issues of community concern.
                                                     25
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      1           Meeting with elected officials and the City to help develop an understanding
      2               of local dynamics and gather information regarding the level of outreach
      3               desired by the elected officials and the City.
      4           An introductory mailing consisting of a one-page letter/fact sheet will be
      5               mailed to approximately 110 homes and businesses in the immediate
      6               vicinity of the Property to introduce the issue in a general manner, the need
      7               for remediation, the development and screening of remedial alternatives,
      8               and provide the current status of addressing the issue.
      9           An open house will be held for local stakeholders to learn more about the
     10               condition of the impacts. Considerations for developing remedial
     11               alternatives will be presented, briefings will be provided for local officials
     12               and concerned citizens regarding alternatives under consideration, and a
     13               small group meeting may be held for citizens involved with the site.
     14          A draft CRP has been prepared and will be finalized in the near future.
     15    Responses from the community will provide insight into community interest and
     16    opinion. Input from the community through the above process will be considered and
     17    used in the final selection of the remedial technology to be applied to the site. An
     18    Administrative Record will be maintained throughout the community relations
     19    process.
     20                         b.    Relevance of Opinion 8:
     21          This opinion is relevant to the case because it supports MGP’s contention that
     22    the response costs that have been incurred by Bixby and MGP at the Property are both
     23    necessary and in substantial compliance with the NCP, thereby fulfilling one of the
     24    elements of its CERCLA claim. This opinion is also relevant to a number of MGP’s
     25    affirmative defenses, including unclean hands, waiver, third party defense, equitable
     26    allocation, set off, unjust enrichment, attorneys’ fees improper, compliance with all
     27    laws, and bona fide prospective purchase. It is relevant to these affirmative defenses
     28    because, among other things, it helps establish that the City’s conduct caused the
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      1    contamination at issue and that MGP should not bear any costs or liabilities
      2    associated with such contamination given its voluntary cleanup efforts.
      3                   9.          Opinion 9
      4          Based on a review and evaluation of invoices associated with the response
      5    action that has been and is continuing to be conducted at the Property, response costs
      6    incurred to date, including agency oversight, are approximately $1,236,142.
      7                          a.      Basis for Opinion 9:
      8          Past response costs have been incurred for site characterization activities, SVE
      9    at Crown Cleaners, groundwater monitoring, preparation of remedial action plans and
     10    agency oversight. This work was performed by EST from 1998 to 2007, by
     11    Geosyntec from 2007 to 2011 and by TOR from 2011 to the present.
     12          Regulatory agency oversight was provided initially by LACFD and since 2000
     13    by the RWQCB. The RWQCB Site Cleanup Program is designed so that reasonable
     14    expenses incurred by the RWQCB in overseeing water quality matters can be
     15    recovered from the responsible party.
     16          Waterstone reviewed records of invoices for past work performed by
     17    Geosyntec and TOR. Because records of EST’s invoices could not be located, an
     18    estimate of EST’s costs was prepared based on the scope of work known to have been
     19    completed by EST. Invoices for agency oversight were also not available. An
     20    estimate based on typical agency oversight costs incurred for similar projects was
     21    therefore prepared.
     22          To date, three technical proposals have been prepared for the remediation of
     23    groundwater. The most recent proposal was prepared by TOR in April 2012 and
     24    proposed ozone sparging of the saturated zone to reduce the levels of chlorinated
     25    solvents to acceptable levels. This technology was eliminated from consideration after
     26    bench testing found that ozone sparging resulted in the formation of hexavalent
     27    chromium, a known hazardous substance. These proposals are considered part of the
     28    CERCLA Feasibility Study (FS) process which includes the identification and
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      1    screening of technologies, development and screening of alternatives and detailed
      2    analysis of alternatives. The process is ongoing.
      3          The past response costs through October 2013, including agency oversight,
      4    have been calculated to be $1,236,142.
      5                         b.      Relevance of Opinion 9:
      6          This opinion is relevant to the case because it supports MGP’s contention that
      7    recoverable response costs have been incurred with respect to the contamination that
      8    is impacting the Property, thereby fulfilling one of the elements of its CERCLA
      9    claim. This opinion is relevant to the case because it supports MGP’s contention that
     10    the response costs that have been incurred by Bixby and MGP at the Property are both
     11    necessary and in substantial compliance with the NCP, thereby fulfilling one of the
     12    elements of its CERCLA claim. This opinion is also relevant to a number of MGP’s
     13    affirmative defenses, including unclean hands, waiver, third party defense, equitable
     14    allocation, set off, unjust enrichment, attorneys’ fees improper, compliance with all
     15    laws, and bona fide prospective purchase. It is relevant to these affirmative defenses
     16    because, among other things, it helps establish that the City’s conduct caused the
     17    contamination at issue and that MGP should not bear any costs or liabilities
     18    associated with such contamination given its voluntary cleanup efforts.
     19                   10.        Opinion 10
     20          Based on the site characterization activities that have been conducted at the
     21    Property and the types and quantities of contaminants that are present, it appears that
     22    electrical resistive heating will turn out to be the most appropriate remedial
     23    technology. Future response costs associated with implementation of this technology,
     24    including additional site characterization, the completion of the RAP, implementation
     25    of NCP requirements (including community relations), agency oversight, and
     26    groundwater/soil vapor monitoring, are estimated to be approximately $9,618,181.
     27                         a.      Basis for Opinion 10:
     28          Future response costs will be incurred for completion of the feasibility study,
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      1    RAP preparation, groundwater remediation, groundwater monitoring, site restoration
      2    and agency oversight.
      3          The RWQCB has required the submittal of a RAP to outline methods for
      4    mitigation of the concentrations of chlorinated solvents and other site contaminants in
      5    the groundwater. Technologies considered to date have included:
      6           No Action;
      7           Surface Cap;
      8           Soil Excavation, Transport & Disposal;
      9           Groundwater Pump and Treat;
     10           Dual Phase Soil Vapor Extraction;
     11           Groundwater Ozone/Air Sparging;
     12           Biological Treatment;
     13           Electrical Resistive Heating (ERH).
     14          Currently, TOR is preparing a RAP which will recommend remediation of the
     15    groundwater using ERH. ERH is an in situ technology which effectively vaporizes the
     16    VOCs in both the unsaturated and saturated intervals which are then removed by a
     17    vapor recovery process. Electrodes and vapor recovery wells are co-located in a grid
     18    pattern within the targeted treatment area. Vapors, steam and non-aqueous phase
     19    liquids (NAPL) are recovered to the surface under vacuum. The multiple phases are
     20    treated at the surface using standard treatment techniques such as carbon adsorption.
     21    The system is designed for 99% destruction of VOCs within the treatment area.
     22          Waterstone was provided with an estimate for groundwater remediation using
     23    ERH that was prepared by TRS, an ERH vendor/contractor identified by TOR. In
     24    addition, Waterstone was provided with an estimate prepared by TOR for other tasks
     25    such as groundwater monitoring, reporting and agency interaction. The estimated cost
     26    to complete the groundwater remediation at the Property using ERH is $4,645,379.
     27    This cost estimate assumes the following:
     28           Treatment area of 20,000 square feet.
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      1           Treatment depth range of 10-45 feet bgs.
      2           Treatment volume of 25,900 cubic yards.
      3           Vapor treatment of chlorinated solvents via carbon adsorption.
      4           System operation duration of six (6) months.
      5           Treatment of plume perimeter/residual concentrations with in situ chemical
      6              oxidation.
      7          It is important to note that the above estimate is based on the current size and
      8    location of the chlorinated solvent plume on the Property and does not take into
      9    account the presence of 1,4- dioxane. Based on the physical properties of 1,4-dioxane
     10    it is reasonable to assume that the 1,4- dioxane plume is larger and has traveled
     11    further downgradient than the chlorinated groundwater plume. Theoretically, the size
     12    of the 1,4-dioxane plume is up to twice as long and six times larger than the
     13    associated chlorinated solvent plume. For the purposes of accounting for costs to
     14    address the 1,4-dioxane groundwater plume, it is estimated that the area requiring
     15    treatment will be twice as large as the area of chlorinated solvents.
     16          For this reason Waterstone has estimated the cost to remediate both the
     17    chlorinated and 1,4-dioxane plumes to be $9,290,758. This cost estimate is based on
     18    the following assumptions:
     19           Treatment area of 40,000 square feet.
     20           Treatment depth range of 10-45 feet bgs.
     21           Treatment volume of 51,800 cubic yards.
     22           Vapor treatment by carbon adsorption.
     23           System operation duration of six (6) months.
     24          An estimated $202,423 in additional costs will be incurred for five years of
     25    groundwater and soil vapor monitoring, reporting and agency interaction.
     26    Groundwater monitoring will be conducted semi-annually starting in 2014. This
     27    testing will support RAP development, provide a baseline prior to remediation, and
     28    demonstrate that remedial activities have achieved their goal.
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      1          Agency oversight costs were estimated based on typical oversight costs
      2    incurred for similar projects. Future estimated costs for five years of agency
      3    oversight are estimated to be approximately $125,000.
      4          In total, when accounting for 1,4-dioxane, and including agency oversight
      5    costs, the future response costs are estimated to be $9,618,181.
      6                         b.      Relevance of Opinion 10:
      7          This opinion is relevant to the case because it supports MGP’s contention that
      8    declaratory relief is necessary and appropriate due to the existence of future response
      9    costs that will be incurred in addressing the release of hazardous substances that has
     10    occurred at the Property. This opinion is relevant to the case because it supports
     11    MGP’s contention that the response costs that have been incurred by Bixby and MGP
     12    at the Property are both necessary and in substantial compliance with the NCP,
     13    thereby fulfilling one of the elements of its CERCLA claim. This opinion is also
     14    relevant to a number of MGP’s affirmative defenses, including unclean hands, waiver,
     15    third party defense, equitable allocation, set off, unjust enrichment, attorneys’ fees
     16    improper, compliance with all laws, and bona fide prospective purchase. It is
     17    relevant to these affirmative defenses because, among other things, it helps establish
     18    that the City’s conduct caused the contamination at issue and that MGP should not
     19    bear any costs or liabilities associated with such contamination given its voluntary
     20    cleanup efforts.
     21          B.     Opinions Set Forth in Dr. Dagdigian’s Rebuttal Report
     22          The following opinions are set forth in Mr. Dagidigan’s rebuttal report, which
     23    is attached hereto as Trial Exhibit 130.
     24                   1.         Rebuttal Opinion 1: Groundwater testing results for 1,4-
     25                              dioxane confirm that the TCE and PCE releases were from
     26                              separate sources and were not the result of naturally
     27                              occurring reductive dechlorination of PCE used at the on-
     28                              site dry cleaners or TCE contamination of PCE used for dry
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      1                             cleaning.
      2                        a.      Basis for Rebuttal Opinion 1:
      3          In addition to the VOC groundwater testing results discussed in Dr.
      4    Dagdigian’s Expert Report, more recent laboratory results provided for groundwater
      5    samples collected by TOR Environmental in August 2013 show that 1,4-dioxane was
      6    present above laboratory reporting limits in 14 of 54 groundwater samples.
      7          In many samples, although 1,4-dioxane is thought to be present, it was not
      8    detected above laboratory reporting limits due to dilutions required in order to
      9    measure elevated concentrations of PCE and TCE. In samples with high PCE and
     10    TCE concentrations, the reporting limits for 1,4-dioxane were elevated to between 50
     11    μg/L and 5,000 μg/L depending on the respective PCE and TCE levels. These
     12    elevated reporting limits would mask the presence of any 1,4-dioxane in the samples.
     13          In groundwater samples where 1,4-dioxane was detected above the laboratory
     14    reporting limits, concentrations of 1,4-dioxane ranged from 87 to 7,100 μg/L. The
     15    maximum concentration was detected within South Street (CPT-53) at a depth of 28-
     16    32 feet bgs.
     17          The significance of the 1,4-dioxane detections is that they confirm that the TCE
     18    and PCE releases are from separate sources. PCE used at dry-cleaning establishments
     19    is not known to contain 1,4-dioxane; however, 1,4-dioxane is known to be used as a
     20    stabilizer for TCE. Thus the presence of 1,4-dioxane conclusively demonstrates that
     21    the presence of TCE in the groundwater is not the result of naturally occurring
     22    reductive dechlorination of PCE used at the on-site dry cleaners or TCE
     23    contamination of PCE used for on-site dry-cleaning.
     24                        b.      Relevance of Rebuttal Opinion 1:
     25          This opinion is relevant to the case because it dispels any contention by the
     26    City that the TCE contamination did not result from a release from its Sewer Line but
     27    rather from on-site conditions. This opinion is also relevant in that it helps establish
     28    that there was a release of hazardous substances from the Sewer Line owned and
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      1    operated by the City, and that there has been a release at the Property which is owned
      2    and operated by the City. It is also relevant to help show that the City cannot
      3    establish the third party defense under CERCLA; specifically, the City cannot
      4    establish that it used due care given that its Sewer Line contributed and caused the
      5    contamination at issue and/or given its management of the Property. This opinion is
      6    also relevant to a number of MGP’s affirmative defenses, including unclean hands,
      7    waiver, third party defense, equitable allocation, set off, unjust enrichment, attorneys’
      8    fees improper, compliance with all laws, and bona fide prospective purchase. It is
      9    relevant to these affirmative defenses because, among other things, it helps establish
     10    that the City’s conduct caused the contamination at issue and that MGP should not
     11    bear any costs or liabilities associated with such contamination.
     12                   2.         Rebuttal Opinion 2: It is unlikely that PCE or TCE were
     13                              used as grain fumigants at Pioneer Mills/Yesterlaid Farms
     14                              and have contributed to the groundwater contamination
     15                              underlying the Property.
     16                         a.      Basis for Rebuttal Opinion 2:
     17          Pioneer Mills/Yesterlaid Farms is located upgradient of the Sewer Line and
     18    north of the borings that contain significantly lower concentrations of PCE and TCE
     19    than the borings further south and immediately adjacent to the Sewer Line. There are
     20    no documents available from local agencies, including the Los Angeles County
     21    Department of Public Works, indicating that TCE or PCE were ever used or stored at
     22    Pioneer Mills/Yesterlaid Farms for use as a grain fumigant or for any other purpose.
     23    Similar documents were available for other businesses in the area, including Alco
     24    Chemical and Artesia Implement, indicating that, if such chemicals were being used
     25    or stored at the facility, the County would have noted that in their records.
     26          The Los Angeles County Department of Sanitation maintains records for
     27    Industrial Waste Discharge by Pioneer Mills/Yesterlaid Farms. None of these records
     28    indicate the disposal of solvents. Only detergents and egg shells were noted in these
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      1    records.
      2          Although PCE and TCE have been identified as potential grain fumigants, the
      3    most common grain fumigant from the 1940s to the 1960s, the period during which
      4    Pioneer Mills/Yesterlaid Farms was operating, was a mixture of carbon tetrachloride
      5    and carbon disulfide. Neither carbon tetrachloride nor carbon disulfide have been
      6    detected during the recent groundwater monitoring and grab groundwater sampling
      7    events conducted down-gradient of that property by Geosyntec or TOR.
      8          Furthermore, there is no evidence that grain was ever stored at Pioneer
      9    Mills/Yesterlaid Farms.
     10                        b.    Relevance of Rebuttal Opinion 2:
     11          This opinion is relevant to the case because it dispels the City’s unsupported
     12    contention that Pioneer Mills/Yesterlaid Farms, rather than the Sewer Line, is a
     13    possible source of the groundwater contamination that has impacted the Property.
     14    Although the location of the contamination plume is itself sufficient to establish a
     15    release from the Sewer Line, the evidence regarding the implausibility of other
     16    potential sources supplies additional evidence that helps establish a release from the
     17    Sewer Line. Thus, this opinion is also relevant in that it helps establish that there was
     18    a release of hazardous substances from the Sewer Line owned and operated by the
     19    City, and that there has been a release at the Property which is owned and operated by
     20    the City. It is also relevant to help show that the City cannot establish the third party
     21    defense under CERCLA; specifically, the City cannot establish that it used due care
     22    given that its Sewer Line contributed and caused the contamination at issue and/or
     23    given its management of the Property. This opinion is also relevant to a number of
     24    MGP’s affirmative defenses, including unclean hands, waiver, third party defense,
     25    equitable allocation, set off, unjust enrichment, attorneys’ fees improper, compliance
     26    with all laws, and bona fide prospective purchase. It is relevant to these affirmative
     27    defenses because, among other things, it helps establish that the City’s conduct caused
     28    the contamination at issue and that MGP should not bear any costs or liabilities
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      1    associated with such contamination.
      2                   3.         Rebuttal Opinion 3: The historical release of PCE to soil at
      3                              Crown Cleaners or leakage from on-site sewer laterals did
      4                              not contribute to the upgradient plume of PCE groundwater
      5                              contamination that underlies the Property.
      6                         a.      Basis for Rebuttal Opinion 3:
      7          The groundwater data are not consistent with the City’s contention that
      8    historical releases of PCE (but not TCE) from Crown Cleaners into the underlying
      9    soil, upgradient migration of PCE along the lateral trenches or on top of low
     10    permeable layers, or leakage from the on-site laterals have contributed to the
     11    upgradient plume of PCE groundwater contamination impacting the Property. If PCE
     12    from Crown Cleaners had either leaked from the onsite sewer laterals or traveled
     13    along the trench backfill, then much higher levels of PCE would be found in the
     14    shallow groundwater (Zone 1) underlying the Property. However, the highest
     15    concentrations in Zone 1 were found immediately beneath the Sewer Line at CPT-46,
     16    confirming that the Sewer Line is the source. The concentrations at CPT-46 are more
     17    than an order of magnitude greater than the levels found anywhere else on the
     18    Property. This confirms that, starting at the Sewer Line, the contaminants migrated
     19    both vertically downward and horizontally downgradient in the groundwater
     20    underneath the Property. In addition, the contaminants traveled a short distance
     21    upgradient to the north to HP-23/23A.
     22          Extensive testing was performed on the Property near and immediately beneath
     23    the onsite sewer laterals. If the PCE in groundwater had originated from the sewer
     24    laterals or the lateral trench backfill, then a wide area of elevated PCE concentrations
     25    would have been found throughout Zone 1 beneath the onsite laterals, but it was not.
     26    Furthermore, the maximum levels found within the entire study area were adjacent to
     27    and immediately downgradient of the Sewer Line.
     28          The City’s contentions are further rebutted by the fact that the onsite sewer
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      1    laterals were installed more recently, in approximately 1989, and are constructed of
      2    superior materials that are much less prone to damage and leakage than the Sewer
      3    Line, which was constructed with VCP and installed as early as the 1940s.
      4          As to the contention that DNAPL (pure PCE) may have migrated horizontally
      5    upgradient, the concentrations in groundwater in the vicinity of Crown Cleaners are
      6    not such that the migration behavior of DNAPL would be exhibited. Typically, the
      7    presence of DNAPL is indicated when dissolved concentrations of PCE are greater
      8    than 1% of its solubility in water. However, the maximum concentrations in the
      9    vicinity of Crown Cleaners are approximately 200 g/L, which is only one tenth of one
     10    percent of the solubility of PCE in water.
     11                        b.     Relevance of Rebuttal Opinion 3:
     12          This opinion is relevant to the case because it dispels the City’s speculative
     13    contention that at least some of the PCE contamination in the groundwater underlying
     14    the Property came from an on-site release, rather than from a release from the City’s
     15    Sewer Line. Although the location of the contamination plume is itself sufficient to
     16    establish a release from the Sewer Line, the evidence regarding the implausibility of
     17    other potential sources supplies additional evidence that helps establish a release from
     18    the Sewer Line. Thus, this opinion is also relevant in that it helps establish that there
     19    was a release of hazardous substances from the Sewer Line owned and operated by
     20    the City, and that there has been a release at the Property which is owned and
     21    operated by the City. It is worth noting that the City is liable for any release at the
     22    Property, regardless of whether it came from the laterals (a proposition for which
     23    there is no evidentiary basis). It is also relevant to help show that the City cannot
     24    establish the third party defense under CERCLA; specifically, the City cannot
     25    establish that it used due care given that its Sewer Line contributed and caused the
     26    contamination at issue and/or given its management of the Property. This opinion is
     27    also relevant to a number of MGP’s affirmative defenses, including unclean hands,
     28    waiver, third party defense, equitable allocation, set off, unjust enrichment, attorneys’
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      1    fees improper, compliance with all laws, and bona fide prospective purchase. It is
      2    relevant to these affirmative defenses because, among other things, it helps establish
      3    that the City’s conduct caused the contamination at issue and that MGP should not
      4    bear any costs or liabilities associated with such contamination.
      5                   4.         Rebuttal Opinion 4: Given the low levels of total
      6                              trihalomethanes (THMs) in the City’s drinking water
      7                              supply, it is not possible to use the total level of THMs in
      8                              groundwater as a marker for releases from the sewer
      9                              system.
     10                         a.       Basis for Rebuttal Opinion 4:
     11          THMs are a group of organic chemicals formed in water when chlorine reacts
     12    with natural organic matter (such as humic acids from decaying vegetation). Humic
     13    acids are present in all natural water used as sources of drinking water. THMs are not
     14    a single chemical but a class of compounds that includes:
     15           Chloroform (CHCl3)
     16           Bromoform (CHBr3)
     17           Dichlorobromomethane (CHCl2Br)
     18           Dibromochloromethane (CHClBr2).
     19          A U.S. Environmental Protection Agency (EPA) survey discovered that THMs
     20    are present in virtually all chlorinated water supplies. Many years ago, EPA required
     21    towns and cities to reduce total THM levels in potable water. The California Code of
     22    Regulations currently specifies that the primary MCL (drinking water standard) for
     23    total THMs (the concentration of the above four chemicals added together) of 80 ppb
     24    shall not be exceeded.
     25          There is data showing that the City’s drinking water has a maximum of
     26    approximately 20 μg/L (ppb) total THMs. No data has been provided showing the
     27    levels of THMs that are present in the sewer water leaving Lincoln Station, which
     28    should be lower than the levels present in drinking water.
                                                       37
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      1          The City falsely asserts that, since there have been no confirmed detections of
      2    THMs in samples of the groundwater collected beneath Lincoln Station, the sewer
      3    could not have leaked. The concept of using THMs as marker species for leaking
      4    drinking water and sewer water pipelines has been investigated. In the paper “Marker
      5    Species for Identifying Urban Groundwater Recharge Sources: a Review in Case
      6    Study in Nottingham, UK,” investigators researched using chlorination byproducts as
      7    marker chemicals to identify sources of releases to groundwater.
      8          In this study, the investigators discuss total THM values in a similar previously
      9    reported case study performed in Coventry, UK. In this previous study, the mean
     10    concentration of total THMs in drinking water was 60 μg/L and the corresponding
     11    level of total THMs in sewer water was 18 μg/L. Additionally, low levels of total
     12    THMs (2.1 μg/L) were found in the groundwater where the source of contamination
     13    was determined to be leaking drinking water mains. In the subject study, investigators
     14    determine that, in Nottingham, UK, the mean concentration of total THMs is only 21
     15    μg/L and that the corresponding concentration of total THMs in sewer water ranges
     16    from 0 to 6 μg/L. These total THM values are approximately one third of those
     17    reported in the Coventry, UK investigation. Based on the assumption that dilution
     18    factors are similar in the two venues, the investigators predicted that total THMs
     19    would not be detectable in the Nottingham groundwater. The results of groundwater
     20    sampling verified the investigators’ predictions; total THMs were below detection or
     21    quantifiable limits. Investigators state that this is not surprising given the low
     22    concentrations of total THMs in the drinking water.
     23          Total THM levels for water in the Cerritos distribution system are summarized
     24    for a number of recent years in the table below.
     25          Total THMs (micrograms per liter)
     26
                           Year                     Average                       Range
     27
                           2008                        6.1                       1.7 to 13
     28

                                                     38
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      1                   2009                       7.1                     1.5 to 18.5
      2                   2010                       8.7                      3.4 to 19
      3                   2011                       8.1                      2.7 to 18
      4                   2012                       19                       ND to 20
      5          Based on the data presented in the table, the highest average value for total
      6    THMs was 19 μg/L in 2012 and the highest value detected for total THMs was 20
      7    μg/L in 2012. These values are similar but slightly lower than those reported by
      8    investigators studying total THMs in the water supply for Nottingham, UK. Thus, it is
      9    highly likely that total THMs in the sewer water are also at comparable (but lower)
     10    values to those reported for the Nottingham, UK sewer system (i.e. ND to 6 μg/L).
     11          Given the results of the investigation presented by investigators searching for
     12    marker chemicals in groundwater in Nottingham, UK, it is clear that the reason no
     13    THMs were found in the groundwater beneath Lincoln Station is because both the
     14    drinking water and sewer water have extremely low concentrations of THMs. When
     15    water leaking from the sewer pipeline is combined with groundwater, the resulting
     16    diluted concentrations of THMs would be far below detectable limits.
     17          An additional rationale provided by the City for the opinion that the VOCs
     18    impacting groundwater underlying the Property are not from a leak in the Sewer Line
     19    is that the redox conditions of the groundwater beneath Lincoln Station are not
     20    characteristic of groundwater impacted by sewage. The volumes of VOCs released
     21    from the Sewer Line were expectedly relatively small, and therefore would have
     22    contained very little, if any, actual sewage. Therefore, the releases would not have
     23    resulted in measureable changes to the redox conditions of the surrounding
     24    groundwater. Furthermore, the native soil matrix around the sewer pipe forms an
     25    effective natural filter to the movement of sewage and organic matter such that, even
     26    with a release of some sewage, it would not have traveled a significant distance from
     27    the sewer pipe and would be quickly diluted by the surrounding groundwater. Given
     28    the above, the releases from the Sewer Line did not contain the volumes of sewage
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      1    that would be necessary to effect a measureable change to the redox conditions in the
      2    groundwater.
      3                          b.      Relevance of Rebuttal Opinion 4:
      4          This opinion is relevant to the case because it dispels the City’s contention that
      5    conditions in the groundwater underlying the Property are inconsistent with the Sewer
      6    Line being the source of the PCE contamination. This opinion is also relevant in that
      7    it helps establish that there was a release of hazardous substances from the Sewer
      8    Line owned and operated by the City, and that there has been a release at the Property
      9    which is owned and operated by the City. It is also relevant to help show that the City
     10    cannot establish the third party defense under CERCLA; specifically, the City cannot
     11    establish that it used due care given that its Sewer Line contributed and caused the
     12    contamination at issue and/or given its management of the Property. This opinion is
     13    also relevant to a number of MGP’s affirmative defenses, including unclean hands,
     14    waiver, third party defense, equitable allocation, set off, unjust enrichment, attorneys’
     15    fees improper, compliance with all laws, and bona fide prospective purchase. It is
     16    relevant to these affirmative defenses because, among other things, it helps establish
     17    that the City’s conduct caused the contamination at issue and that MGP should not
     18    bear any costs or liabilities associated with such contamination.
     19                    5.         Rebuttal Opinion 5: It is reasonable and most likely that the
     20                               PCE, TCE and 1,4-dioxane were released from the Sewer
     21                               Line at the first location where there were defects, in the
     22                               vicinity of the three circumferential cracks and other defects
     23                               just west of Manhole 2.
     24                          a.      Basis for Rebuttal Opinion 5:
     25          Based on the distribution of the chemicals found in groundwater, it is clear that
     26    the PCE and TCE leaked from the sewer line at the first location where there were
     27    cracks and other defects (e.g. failed joints) related to the cracks in the sewer pipe. Not
     28    only were there several circumferential cracks identified during the inspection of this
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      1    portion of the sewer line, there are additional cracks visible, including longitudinal
      2    cracks, in the video images which were not reported by Empire Pipe Cleaning and
      3    Equipment, Inc.
      4          It is unknown under what exact circumstances the contaminants leaked from
      5    the Sewer Line. For example, the time of day and flow rates at the times of the
      6    releases are unknown. The trapping of TCE and PCE behind blockages or build ups
      7    in the Sewer Line or an inadequate slope to the line to assure self cleaning could
      8    significantly increase the residence time of the hazardous chemicals within the sewer
      9    pipe and, when combined with their higher densities relative to water, would allow
     10    for the chemicals to eventually move along the bottom of and preferentially leak from
     11    the pipe. In addition, the entrainment of TCE and PCE within grease buildups,
     12    typically found in sewer pipes, would also increase the residence time of these
     13    chemicals in the Sewer Line and lead to future releases of TCE and PCE within and
     14    from the sewer pipe.
     15          Once released into the soil underlying the Sewer Line, portions of the
     16    hazardous chemicals could then take long periods of time, up to decades, for portions
     17    of the TCE and PCE to work its way through underlying clay or other impervious or
     18    semi-impervious obstacles (e.g. rocks), enter the groundwater and then move
     19    downgradient underneath the Property. In fact, the available test results indicate that
     20    the highest concentrations of TCE and PCE are still present underneath South Street,
     21    where they remain poised, under the right circumstances, to be released to migrate
     22    beneath the Lincoln Station Shopping Center.
     23          The portion of the sewer line where the leaks occurred only serviced discharges
     24    from the former S&J and Lincoln Station, including Crown Cleaners. However,
     25    downstream of this area and of Manhole No. 3 there are several other inlets to the
     26    sewer which would have affected the flow and changed the makeup of the water
     27    flowing through that portion of the pipe.
     28          There has not been any groundwater testing performed to the west of the three
                                                     41
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      1    circumferential cracks in the Sewer Line or at facilities in the immediate vicinity of
      2    the Sewer Line west of Manhole No. 3 which would confirm the presence or absence
      3    of PCE and TCE. Regardless, the available groundwater data in the immediate area of
      4    the three circumferential cracks directly correlates with a release from that portion of
      5    the sewer pipe, which is shortly downstream of Manhole No. 2.
      6          No PCE or TCE was detected in groundwater at Fire Station #30 during testing
      7    performed in 2002 and 2003. This facility is located approximately 300 feet
      8    downgradient of the portion of the Sewer Line that is west of Manhole No. 3 and the
      9    results or lack thereof are not meaningful for evaluation of a possible release between
     10    Manhole No. 2 and No. 3. The absence of solvents in groundwater at Fire Station #30,
     11    if true, does not preclude the occurrence of leakage from the portion of the Sewer
     12    Line near Manhole No. 2.
     13                        b.     Relevance of Opinion 5:
     14          This opinion is relevant because it dispels the City’s contention that the a
     15    release from the Sewer Line could not have been the source of the groundwater
     16    contamination impacting the Property because more widespread contamination would
     17    have to have occurred for that to be the case. This opinion is relevant to the case
     18    because it dispels any contention by the City that the TCE contamination did not
     19    result from a release from its Sewer Line but rather from on-site conditions. This
     20    opinion is also relevant in that it helps establish that there was a release of hazardous
     21    substances from the Sewer Line owned and operated by the City, and that there has
     22    been a release at the Property which is owned and operated by the City. It is also
     23    relevant to help show that the City cannot establish the third party defense under
     24    CERCLA; specifically, the City cannot establish that it used due care given that its
     25    Sewer Line contributed and caused the contamination at issue and/or given its
     26    management of the Property. This opinion is also relevant to a number of MGP’s
     27    affirmative defenses, including unclean hands, waiver, third party defense, equitable
     28    allocation, set off, unjust enrichment, attorneys’ fees improper, compliance with all
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      1    laws, and bona fide prospective purchase. It is relevant to these affirmative defenses
      2    because, among other things, it helps establish that the City’s conduct caused the
      3    contamination at issue and that MGP should not bear any costs or liabilities
      4    associated with such contamination.
      5                   6.         Rebuttal Opinion 6: Relatively small volumes of PCE and
      6                              TCE is all that would have been required to form the
      7                              plumes of contamination impacting groundwater
      8                              underneath the Property, small amounts of the chemicals in
      9                              wastewater that were discharged to the Sewer Line over
     10                              extended periods of time.
     11                         a.      Basis for Rebuttal Opinion 6:
     12          It is not necessary for there to have been a large release of TCE or PCE to
     13    account for the plumes observed at the Property. Waterstone performed calculations
     14    based on the concentrations and sizes of the plumes and determined that the plume as
     15    observed could have been caused by releases of as little as 5.2 gallons of TCE and 2.5
     16    gallons of PCE. The following assumptions were used in this calculation:
     17           Average concentration of maximum and minimum concentration within
     18             each isoconcentration contour interval in each of the water bearing zones
     19           Height limited to groundwater flow zone intervals
     20           Soil Porosity = 0.3
     21           Density of TCE: 1.46 grams per milliliter
     22           Density of PCE: 1.62 grams per milliliter.
     23                         b.      Relevance of Rebuttal Opinion:
     24          This opinion is relevant to the case because it dispels the City’s contention that
     25    massive amounts of wastewater containing hazardous substances would have needed
     26    to leak out of the Sewer Line in order to create the contamination in groundwater that
     27    underlies the Property, amounts of wastewater that are inconsistent with the degree of
     28    defects in the Sewer Line that have been identified. This opinion is relevant to the
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      1    case because it dispels any contention by the City that the TCE contamination did not
      2    result from a release from its Sewer Line but rather from on-site conditions. This
      3    opinion is also relevant in that it helps establish that there was a release of hazardous
      4    substances from the Sewer Line owned and operated by the City, and that there has
      5    been a release at the Property which is owned and operated by the City. It is also
      6    relevant to help show that the City cannot establish the third party defense under
      7    CERCLA; specifically, the City cannot establish that it used due care given that its
      8    Sewer Line contributed and caused the contamination at issue and/or given its
      9    management of the Property. This opinion is also relevant to a number of MGP’s
     10    affirmative defenses, including unclean hands, waiver, third party defense, equitable
     11    allocation, set off, unjust enrichment, attorneys’ fees improper, compliance with all
     12    laws, and bona fide prospective purchase. It is relevant to these affirmative defenses
     13    because, among other things, it helps establish that the City’s conduct caused the
     14    contamination at issue and that MGP should not bear any costs or liabilities
     15    associated with such contamination.
     16     II.    Documents Relied on by Mr. Dagdigian
     17           In forming the opinions set forth above, Mr. Dagdigian relied on the following
     18    documents:
     19        13 – Post-Remediation Soil Gas Assessment Report, prepared by Geosyntec,

     20           dated July 27, 2007.

     21        14 – Letter from E. Jimison and N. Bice to A. Castaneda, dated October 9,
     22           2007, Re: Work Plan for Additional Groundwater Investigation and Quarterly
     23           Groundwater Monitoring.
     24        16 – Draft Remedial Action Plan, prepared by Geosyntec, dated April 16, 2010.
     25        17 – Letter from N. Bice to A. Castaneda, dated February 28, 2011, with
     26           attached Remedial Action Plan prepared by Geosyntec, dated February 23,
     27           2011.
     28        36 – Portion of Sewer System Map, C-134, dated December 7, 1978.
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      1     59 – Portions of Sewer System Map, C-134, dated December 7, 1978.

      2     63 – Town of Artesia – Elevation Blueprints of South St. showing grade,
      3       undated.
      4     64 – Building Records from Building and Safety Department at Cerritos City
      5       Hall, various dates.
      6     70 – Permit to Construct/Operate, Issued by South Coast Air Quality
      7       Management District to Crown Cleaners, dated December 27, 1989.
      8     71 – Building Records, Crown Cleaners, various dates.
      9     102 – County Sanitation Districts of Los Angeles County notification dated
     10       August 13, 1982 voiding Industrial Wastewater Discharge Permit No. 5112
     11       previously issued to S & J Chevrolet.
     12     104 – City of Cerritos Redevelopment Agency correspondence dated March 1,
     13       1990 regarding Closure Permit 4589B and attaching remediation reports
     14       prepared for City of Cerritos Redevelopment Agency.
     15     105 – County of Los Angeles, Department of Public Works Site
     16       Assessment/Remedial Action Plan Closure Certification dated August 13, 1990
     17       ("No Further Action" letter).
     18
            106 – Letter from Mike O'Grady of City of Cerritos to Aaron D. Hill of Bixby
     19
              Land Company dated December 3, 2010.
     20
            107 – Letter from Pamela L. Andes of Allen Matkins to Dennis S. Roy of
     21
              McKenna Long & Aldridge dated January 7, 2011.
     22
            126 – Color Figures 1 through 25 from the Expert Report of J. Dagdigian,
     23
              dated November 18, 2013.
     24
            130 – Rebuttal Expert Report of J. Dagdigian, dated December 9, 2013.
     25
            137 – Well Permit Applications and Approvals, various dates; Letter from TOR
     26
              Environmental, Inc. (TOR) re Groundwater Monitoring Well and
     27
              CPT/Hydropunch Boring Permit Application, dated July 25, 2013.
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      1     138 – Borehole cross-sections/depths, of Groundwater Monitoring Wells LS-2

      2       & LS-3, prepared by TOR, dated October 22, 2013.

      3     139 – Letter to Dept. of County Engineer, Project Planning & Pollution re
      4       Industrial Wastewater Discharge Permit No. 5112, dated September 22, 1976.
      5     140 – Technical Approaches to Characterizing and Cleaning Up Automotive
      6       Repair Sites Under the Brownfields Initiative, U.S. Environmental Protection
      7       Agency (USEPA), dated February 1999.
      8     141 – Expert Report of J. Dagdigian (excluding tables), dated November 18,
      9       2013.
     10     142 – Letter of No Further Action, and Monitoring Report prepared by Leroy
     11       Crandall and Associates, dated July 16, 1990.
     12     143 – Site Health and Safety Plan, prepared by TOR, dated December 20,
     13       2012.
     14     144 – Uniform hazardous Waste Manifests, Crown Cleaners, various dates.
     15     145 – Report prepared by V. Izzo for the Los Angeles Regional Water Quality
     16       Control Board, Well Investigation Program entitled, Dry Cleaners – A Major
     17       Source of PCE in Groundwater, dated March 27, 1992.
     18
            146 – Phase I Environmental Assessment Report, prepared by EMG, dated
     19
              August 13, 1998.
     20
            147 – Table 1; PCE and TCE Koc Values Reported in Literature, undated.
     21
            148 – Table 3; Cost Estimate Summary, Site Characterization and
     22
              Remediation, undated.
     23
            149 – Invoices from TOR, various dates.
     24
            153 –Rebuttal Expert Report of Bonneau Dickson dated December 9, 2013.
     25
            154 – TOR Phase I Environmental Site Assessment Report, dated July 11,
     26
              2011.
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      1     159 – Groundwater Remedial Action Plan prepared by TOR Environmental

      2       dated April 12, 2012.

      3     160 – California Regional Water Quality Control Board - Los Angeles Region,
      4       2013. Approval of Bench Scale Test Work Plan for Ozone Treatment of
      5       Groundwater, Former Crown Cleaners at 11900 South Street Unit 114,
      6       Cerritos, California (SCP No. 0921, Site ID No. 204AL00), dated January 7,
      7       2013.
      8     164 – Table 1 – Data from CPT Borings 1-55, Table 2 – Groundwater
      9       monitoring well data.
     10     168 – Information re Crown Cleaners from RCRA-SQG, FINDS and HAZNET
     11       databases (excerpt of TOR Phase 1 Report).
     12     169 – TOR Environmental Groundwater and Soil Vapor Monitoring Well
     13       Systems Installation Work Plan dated December 18, 2013.
     14     170 – Cover Letter Dated 2/4/14 and attached soil boring date for CPT/DP 45
     15       and 54 from TOR Environmental.
     16     176 – Cerritos, California, Municipal Code, Chapter 3.28 Sewer Maintenance
     17       Assessment.
     18
            177 – Cerritos, California, Municipal Code, Chapter 13.08 Sanitary Sewers.
     19
            178 – Cerritos, California, Municipal Code, Chapter 17.24 Dedications,
     20
              Improvements, and Improvement Plans.
     21
            179 – Cerritos, California, Municipal Code, Chapter 22.80 Environmental
     22
              Performance Standards.
     23
            180 – County of Los Angeles Department of Public Works. Various Building
     24
              Permits issued to 11900 South Street.
     25
            181 – Department of Toxic Substances Control. Hazardous Waste Tracking
     26
              System Disclaimer & Data Limitations Statement.
     27

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      1     182 – Los Angeles County Division of Sanitation – Industrial Waste. 1948.

      2       Industrial Waste Disposal Statement, July 6.

      3     184 – Los Angeles County Road Department. 1968. As Built Plans, Misc.
      4       Trans. Drain No. 206, Unit IV, Sheet 30 of 45, Dwg. No. 55487.
      5     185 – Current Intelligence Bulletin 2: Trichloroethylene (TCE), Centers for
      6       Disease Control and Prevention, Publication 78-127, dated June 6, 1975
      7       (captured from CDC website, January 30, 2014).
      8     186 – Sanitation Districts of Los Angeles County, Letter Re: Notification of
      9       Requirements to Obtain Industrial Wastewater Discharge Permit, dated March
     10       16, 1976 .
     11     187 – Sanitation Districts of Los Angeles County, Letter Re: Industrial
     12       Wastewater Discharge Permit No. 5112 – S & J Chevrolet, dated September
     13       22, 1976.
     14     188 – Relevant portion of the USEPA’s Report to Congress entitled, Waste
     15       Disposal Practices and Their Effect on Groundwater, Office of Water Supply,
     16       Office of Solid Waste Management Programs, EPA-570/9-77-001, dated
     17       January 1977.
     18     191 – Perchloroethylene Dry Cleaners – Background Information for Proposed
     19       Standards, USEPA, August 1980.
     20
            192 – Vestige of Area’s Past: Cerritos Egg Plant Falls to Progress, Steven R.
     21
              Churm, Los Angeles Times, May 4, 1986 (captured from Los Angeles Times
     22
              website on January 30, 2014).
     23
            194 – Cover letter from LeRoy Crandall and Associates to City of Cerritos
     24
              Redevelopment Agency for Report of Contamination Remediation –
     25
              Excavation of Contaminated Soils at 11900 South Street, dated August 22,
     26
              1988.
     27

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      1     195 – Underground Storage Tank Removal in Cerritos, prepared by Strata

      2       Technologies Inc., for the City of Cerritos Redevelopment Agency, dated July

      3       1988.

      4     196 – Letter from Petroleum Waste Inc. to City of Cerritos Redevelopment
      5       Agency, Re: Soil Contaminated with Gasoline, dated September 8, 1988.
      6     200 – Letter from County of Los Angeles Department of Public Works to City
      7       of Cerritos Redevelopment Agency, Re: Hazardous Materials Underground
      8       Storage Site Assessment/Remedial Action Plan Closure Certification, dated
      9       August 13, 1990.
     10     201 – Groundwater Monitoring and Well Installation and Sampling Report,
     11       prepared by LeRoy Crandall and Associates, dated August 22, 1990.
     12     203 – Pollution of Groundwater in the Coventry Region (UK) by Chlorinated
     13       Hydrocarbon Solvents; Journal of Hydrology, M. W. Burston, M. M. Noazari,
     14       P. K. Bishop, D. N. Learner, Volume 149, PP 137 – 161, 1993.
     15     204 – DNAPL Site Characterization Fact Sheet, Publication 9355.4-16FS,
     16       EPA/540/F-94/049, PB94-963317, USEPA, September 1994.
     17     205 – Perchloroethylene Dry Cleaning Facility – General Recommended
     18       Operations and Maintenance Practices for Dry Cleaning Equipment, USEPA,
     19       October 1994.
     20
            206 – The Story of Cerritos, Marilyn Cenovich, (Cerritos Library), 1995.
     21
            207 – Curriculum for the Environmental Training Program for
     22
              Perchloroethylene Dry Cleaning Operations, California Air Resources Board,
     23
              April 1996.
     24
            209 – Site Assessment Report, prepared by Environmental Support
     25
              Technologies, Inc. (EST), dated January 15, 1998.
     26
            215 – Remediation Progress Report No. 1, prepared by EST, dated September
     27
              24, 1998.
     28

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      1     216 – Barrett, Mike H., Hiscock, Kevin M., Pedley, Stephen, Learner, David

      2       N., Tellam, John H., French, Mike J.; Marker Species for Identifying Urban

      3       Groundwater Recharge Sources: a Review in Case Study in Nottingham, UK;

      4       Water Resources, Volume 33, Number 14, PP. 3083 – 3097, 1999.

      5     221 – Letter from K. Thompson (EST) to L. Olsen (Bixby) re Regulatory
      6       Agency Involvement and Request for Site Closure, dated July 14, 1999.
      7     224 – Revised Soil Assessment Work Plan, prepared by EST, dated October
      8       28, 1999 .
      9     225 – Site Assessment Report (EST), dated December 10, 1999.
     10     226 – Letter from T. Klinger (CLAFD) to R. Chou, Re: LARWQCB Lead
     11       Agency Status, dated February 9, 2000.
     12     227 – Letter from T. Klinger (CLAFD) to L. Olsen, Re: Site Assessment
     13       Report, dated February 9, 2000.
     14     229 – Letter from D. Dickerson (RWQCB) to L. Olsen (Bixby), Re: Spills,
     15       Leaks, Investigations and Cleanups (SLIC) Oversight Cost Reimbursement
     16       Account, dated February 28, 2000.
     17     230 – Letter from S. Hariri (RWQCB) to L. Olsen (Bixby), Re: Site
     18
              Assessment Report, Crown Cleaners, dated April 28, 2000.
     19
            231 – Age Dating of a Chlorinated Solvent Plume in Groundwater, Gil Oudijk
     20
              & Lauren M. Schmitt, May 2000.
     21
            232 – Site Assessment Workplan, prepared by EST, dated June 6, 2000.
     22
            233 – Revised Site Assessment Workplan, prepared by EST, dated July 17,
     23
              2000.
     24
            234 – Site Assessment Report, prepared by EST, dated July 24, 2000.
     25
            236 – Letter from S. Hariri (RWQCB) to D. Stanley (Bixby), Re: Site
     26
              Assessment Report, dated August 14, 2000.
     27

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      1     237 – Workplan for Additional Groundwater Assessment and Monitoring Well

      2       Installation, prepared by EST, dated September 11, 2000.

      3     238 – Letter from S. Hariri (RWQCB) to D. Stanley (Bixby), Re: Workplan for
      4       Additional Groundwater Assessment and Monitoring Well Installation, dated
      5       October 23, 2000.
      6     240 – Groundwater Assessment Report, prepared by EST, dated December 15,
      7       2000.
      8     241 – Letter from M. Tye (EST) to S. Hariri (RWQCB), Re: Addendum to
      9       Groundwater Assessment Report, Former Crown Cleaners Site, prepared by
     10       EST, dated January 5, 2001.
     11     244 – Groundwater Monitoring Report, prepared by EST, dated March 23,
     12       2001.
     13     245 – Letter from M. Tye (EST) to S. Hariri (RWQCB), Re: Work Plan for
     14       Additional Site Assessment, with report, dated April 24, 2001.
     15     249 – Letter from D. Dickerson to M. Bixby, Re: Annual Estimation Letter for
     16       Spills, Leaks, Investigations, and Cleanups Cost Recovery Program, dated June
     17       29, 2001.
     18
            250 – Site Assessment Report (RWQCB SUC No. 921), prepared by EST,
     19
              dated July 5, 2001.
     20
            251 – Letter from K. Thomson (EST) to S. Hariri (RWQCB), Remedial Action
     21
              Plan, prepared by EST, dated July 12, 2001.
     22
            252 – Workplan for Monitoring Well Installation, prepared by EST, dated
     23
              September 18, 2001.
     24
            253 – Letter from A. Siddiqui (RWQCB) to Mark Bixby re Review Work Plan
     25
              for Monitoring Well Installation, dated September 27, 2001.
     26
            254 – Groundwater Assessment Report, prepared by EST, dated October 31,
     27
              2001.
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      1     255 – Former U.S. Department of Agriculture Grain Bin Project, USEPA,

      2       Region 7, J.J. Field, 2002.

      3     256 – Note 36, California Geomorphic Provinces, California Geological
      4       Survey, 2002.
      5     257 – Letter from A. Siddiqui (RWQCB) to M. Bixby, cc EST re Review of
      6       Groundwater Assessment Report, dated January 2, 2002.
      7     258 – Groundwater Monitoring Report, prepared by EST, dated February 20,
      8       2002.
      9     259 – 1,4-dioxane – A Little Known Compound, Environmental Science &
     10       Engineering, D. Grant Walsom and Bruce Tunnicliffe, dated May 2002.
     11     260 – Groundwater Monitoring Report, prepared by EST, dated May 20, 2002.
     12     261 – Groundwater Monitoring Report (Q3), prepared by EST, dated August
     13       12, 2002.
     14     262 – Groundwater Monitoring Report (Q4), prepared by EST, dated
     15       November 15, 2002.
     16
            263 – Instruction for Installation, Machine Operation, Machine Maintenance,
     17
              Renzacci Industria Lavatrici, revised 2003.
            264 – California Department of Water Resources. 2003. California’s
     18

     19
              Groundwater Bulletin 118.
     20
            266 – Air Quality and Shop Safety Information is Available on the Web, BAR
     21
              Repair Reporter newsletter, California Department of Consumer Affairs/Bureau
     22
              of Automotive Repair, Winter/Spring 2003.
     23
            268 – Letter from K. Thomson (EST) to R. Chou (RWQCB), cc M. Bixby re
     24
              Request for Site Closure, dated March 21, 2003.
     25
            273 – Letter from M. Tye (EST) to A. Siddiqui (RWQCB), cc Bixby, dated
     26
              March 18, 2004, with attached Annual Groundwater Monitoring Report No. 1,
     27
              dated March 11, 2004.
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      1     279 – ASTM and the National Clay Pipe Institute – 100 Years of Teamwork

      2       and Achievement, Edward J. Sikora, dated August 2004.

      3     280 – Letter from J. Au (RWQCB) to M. Bixby re Request for Closure, Crown
      4       Cleaners, dated December 10, 2004.
      5     281 – Letter from M. Tye (EST) to D. Rasmussen (RWQCB), dated December
      6       16, 2004, re Remediation Section Case Review Form, with attached forms,
      7       dated December 8, 2004, and maps.
      8     282 – DTSC EPA ID Profile, Manifest, Crown Cleaners, dated December 28,
      9       2004.
     10     283 – Letter from (EST) to J. Au (RWQCB) re submission of Work Plan for
     11       Groundwater Assessment and Monitoring, dated March 7, 2005.
     12     284 – Letter from EST to RWQCB, dated April 4, 2005, with Groundwater
     13       Monitoring and Assessment Report, prepared by EST, report dated March 28,
     14       2005.
     15     285 – Letter from J. Au (RWQCB) to M. Bixby, dated June 21, 2005 re
     16       approval of work re Groundwater Monitoring and Assessment Report, dated
     17       March 28, 2005.
     18
            286 – Letter from K. Thomson (EST) to P. Raferty (RWQCB) re Remediation
     19
              Section Case Review Form, dated October 26, 2005.
     20
            288 – Work Plan for Completion of Groundwater Assessment, prepared by
     21
              EST, dated December 21, 2005.
     22
            289 – A Renzacci Solvent Emissions Directive Compliant Drycleaning
     23
              Machine for a New Installation, Renzacci UK, PLC, 2006.
     24
            290 – Letter from P. Raftery to M. Bixby, dated January 5, 2006, Re: Response
     25
              to Groundwater Monitoring Well Installation Work Plan, dated December 21,
     26
              2005.
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      1     291 – Letter to Bixby from RWQCB re Approval of Work Plan to Perform

      2       Further Groundwater Assessment, dated May 3, 2006.

      3     292 – Letter from P. Raftery (RWQCB) to M. Bixby re Approval of Work Plan
      4       to Perform Further Groundwater Assessment, dated May 3, 2006.
      5     294 – Letter from K. Thomson (EST) to M. Bixby re Groundwater Assessment
      6       Report, dated June 7, 2006.
      7     295 – Letter from K. Thomson (EST) to P. Raferty (RWQCB), dated June 14,
      8       2006, re Groundwater Assessment Report, prepared by EST, with attached
      9       June 7, 2006 Letter and report dated June 6, 2006.
     10     296 – The Emergency of Stable Isotopes in Environmental and Forensic
     11       Geochemistry Studies: A Review, R. Paul Philp, dated August 16, 2006.
     12     297 – Letter from J. Au (RWQCB) to M. Bixby, dated September 21, 2006, re
     13       Groundwater Monitoring and Assessment Report and Request for Soil Closure,
     14       review of report dated June 6, 2006.
     15     299 – Study of Potential for Groundwater Contamination from Past Dry
     16       Cleaner Operations in Santa Clara County, Santa Clara Valley Water District,
     17       Thomas Mohr, 2007.
     18
            301 – Email chain between E. Jimison and A. Heath (RWQCB), dated
     19
              February 16, 2007, re September 21, 2006 letter, extension granted.
     20
            302 – Letter from E. Jimison (Geosyntec) to A. Heath (RWQCB) and Bixby re
     21
              Approval of Extension for Submittal of Soil Gas Work Plan, SUC No. 0921,
     22
              prepared by Geosyntec, dated February 20, 2007.
     23
            306 – Transmittal/cover sheet from Geosyntec to P. Andes (Allen Matkins) re
     24
              Post-Remediation Soil Gas Assessment Workplan, dated March 21, 2007,
     25
              Letter from E. Jimison (Geosyntec) to S. Han (RWQCB) re Post-Remediation
     26
              Soil Gas Assessment Workplan .
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      1     307 – Letter from E. Jimison (Geosyntec) to S. Han (RWQCB), cc EST,

      2       Bixby, dated march 29, 2007, re Reprinted Figures for Soil Gas Workplan

      3       dated 21 March 2007.

      4     308 – Letter from S. Han (RWQCB) to M. Bixby, dated April 20, 2007, re
      5       Conditional Approval of Post-Remediation Soil Gas Assessment Workplan,
      6       review of report dated March 21, 2007.
      7     309 – 2007 Annual Groundwater Monitoring Report, prepared by Geosyntec,
      8       dated June 11, 2007.
      9     310 – Email from B. Jimison (Geosyntec) to M. Siegel and N. Bice
     10       (Geosyntec) re editing and signature for Draft Post-Remediation Soil Gas
     11       Assessment Report, dated July 17, 2007.
     12     313 – Letter from A. Castaneda (RWQCB) to G. Gilroy (Bixby), dated
     13       September 7, 2007, re Review of Soil Gas Assessment and Groundwater
     14       Monitoring Reports, review of reports dated June 11, 2007 and July 27, 2007.
     15     317 – Soil Remedial Action Plan, prepared by Geosyntec, dated October 30,
     16       2007.
     17     318 – Letter from A. Castaneda (RWQCB) to B. Davis (Bixby), dated
     18       November 2, 2007, Re: Work Plan Approval, review of reports dated October
     19       9, 2007, September 7, 2007.
     20
            319 – Email from L. Lazarus to B. Jimison, N. Bice (Geosyntec), A. Castaneda
     21
              (RWQCB), dated November 6, 2007, with attached November 2, 2007 letter
     22
              from A. Castaneda (RWQCB) to B. Davis (Bixby) re Work Plan Approval,
     23
              review of reports dated October 9, 2007, September 7, 2007.
     24
            320 – Letter from T. Egoscue to B. Davis re 2007 – 2008 Annual Estimation
     25
              Letter for the Site Cleanup Cost Recovery Program, dated November 7, 2007.
     26
            321 – Letter from E. Jimison (Geosyntec) and N. Bice (Geosyntec) to A.
     27
              Castaneda (RWQCB), cc Bixby, dated December 13, 2007, re Request for
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      1
              Amendment to Additional Groundwater Investigation Work Plan of 9 October

      2
              2007, prepared by Geosyntec Consultants.

      3     322 – Email chain between A. Castaneda (RWQCB) and B. Jimison

      4       (Geosyntec) re additional borings required due to plume migration down

      5       gradient, dated December 14, 2007.

      6     323 – 4th Quarter 2007 Groundwater Monitoring Report (Geosyntec), dated
      7       January 15, 2008.
      8     324 – Letter from S. Nowak, Calscience Environmental Laboratories, Inc.
      9       (CEL) to B. Jimison (Geosyntec) re enclosed Analytical Report of Samples
     10       012208, dated January 29, 2008.
     11     326 – Email from L. Soos (Geosyntec) to B. Jimison (Geosyntec) and T.
     12       Schwartz re summary of visit and file review at City's Building and Safety
     13       Department last Thursday, DATED February 18, 2008.
     14     327 – Email chain between A. Siddiqui, A. Castaneda (RWQCB), and B.
     15       Jimison (Geosyntec) re approval of work implementation discussed in 02/13/08
     16       meeting, dated March 11, 2008.
     17     328 – Letter from S. Nowak to B. Jimison re enclosed Analytical Report of
     18       Samples 032508, prepared by CEL, dated April 3, 2008.
     19     344 – Additional Groundwater Investigation Report, prepared by Geosyntec,
     20       dated July 7, 2008.
     21
            345 – May 2008 Semi-Annual Groundwater Monitoring Report, prepared by
     22
              Geosyntec, dated July 15, 2008.
     23
            347 – Transmittal/cover sheet from E. Jimison (Geosyntec) to N. Amini
     24
              (RWQCB), cc Bixby re attached December 2008 Semi-Annual Groundwater
     25
              Monitoring Report, prepared by Geosyntec, dated January 15, 2009.
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      1     348 – Letter from T. Egoscue to B. Davis re 2009 – 2010 Annual Estimation

      2       Letter for the Site Cleanup Cost Recovery Program –Crown Cleaners, dated

      3       July 17, 2009.

      4     349 – June 2009 Semi-Annual Groundwater Monitoring Report, prepared by
      5       Geosyntec, dated July 31, 2009.
      6     350 – Transmittal/Coversheet from Geosyntec to A. Castaneda (RWQCB) and
      7       B. Davis (Bixby), dated July 31, 2009, with June 2009 Semi-Annual
      8       Groundwater Monitoring Report, prepared by Geosyntec, Well Gauging Data.
      9     352 – December 2009 Semi-Annual Groundwater Monitoring Report, prepared
     10       by Geosyntec, dated January 20, 2010.
     11     355 – Letter From N. Bice (Geosyntec) to A. Castaneda (RWQCB), dated June
     12       11, 2010, Re: Follow-up to Meeting of 8 June 2010, with attached June 2010
     13       Semi-Annual Groundwater Monitoring Report, prepared by Geosyntec
     14       Consultants.
     15     356 – Letter from S. Unger (RWQCB) to B. Davis, Re: (2010 – 2011 Annual
     16       Estimation Letter for Site Cleanup Cost Recovery Program, dated July 15,
     17       2010.
     18     357 – Letter from S. Unger (RWQCB) to B. Davis. Re: 2010-2011 Annual
     19       Estimation Letter for Site Cleanup Cost Recovery Program, Crown Cleaners,
     20       dated July 15, 2010.
     21
            358 – Transmittal/Cover sheet from E. Mc Donald (Geosyntec) to A. Castaneda
     22
              (RWQCB), cc Bixby, dated July 30, 2010, with attached June 2010 Semi-
     23
              Annual Groundwater Monitoring Report, prepared by Geosyntec.
     24
            363 – Consolidated Sewer Maintenance District, 2011, Sheet C-2030.
     25
            368 – Technical Response from Geosyntec to City of Cerritos. dated January 7,
     26
              2011, Re: letter Dated 3 December 2010.
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      1     369 – Transmittal/Coversheet from Geosyntec to A. Castaneda (RWQCB) and

      2       B. Davis (Bixby) with December 2010 Semi-Annual Groundwater Monitoring

      3       Report, prepared by Geosyntec, dated February 2, 2011.

      4     370 – Remedial Action Plan(Geosyntec), dated February 23, 2011.
      5     379 – June 2011 Semi-Annual Groundwater Monitoring Report, prepared by
      6       Geosyntec, dated July 13, 2011.
      7     389 – Letter from A. Castaneda to B. Davis re Approval of (Conceptual)
      8       Groundwater Remedial Action Plan and Additional Requirements, dated
      9       September 15, 2011.
     10     399 – Change of Ownership Notification from Bixby-Lincoln Station to
     11       RWQCB, dated October 19, 2011.
     12     401 – Assignment of Ground Lease, Assumption and Consent between Bixby
     13       Lincoln Station, Inc. and MGP IX Lincoln Station, LLC, dated October 19,
     14       2011, recorded October 21, 2011.
     15     409 – Analytical Reports from Calscience Environmental Laboratories, Inc.,
     16       prepared for TOR.
     17     411 – Letter from J. Borum to A. Castaneda re Extension Request, dated
     18
              October 28, 2011.
     19
            412 – Letter to B. Geier from S. Unger (RWQCB) re Site Cleanup Program
     20
              Oversight Cost Reimbursement Account, Crown Cleaners, dated November 10,
     21
              2011.
     22
            414 – Acknowledgement of Receipt of Oversight Cost Reimbursement
     23
              Account Letter (Attachment 4), dated December 20, 2011.
     24
            415 – Co-occurrence of 1,4-dioxane with Trichloroethylene in Chlorinated
     25
              Solvent Groundwater Plumes at US Air Force Installations: Fact or Fiction.
     26
              Integr Environ. Assess. Manag., R. H. Anderson, J. K. Anderson, P. A. Bower,
     27
              8: 731–737. doi: 10.1002/ieam.1306, 2012.
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      1     417 – Industrial Waste Disposal Permit, Operating Permit-Local Sewer, Los

      2       Angeles County Department of Public Works, dated October 25, 2012.

      3     420 – Letter to B. Geier from A. Castaneda re Approval of (Conceptual)
      4       Groundwater Remedial Action Plan and Additional Requirements, dated June
      5       8, 2012.
      6     421 – Letter to B. Geier from S. Unger (RWQCB) re 2012-2013 Annual
      7       Estimation Letter for Site Cleanup Cost Recovery Program, Crown Cleaners,
      8       dated July 16, 2012.
      9     425 – Chlorinated Solvents, Robert D. Morrison, Brian L. Murphy, 2013.
     10     436 – Relevant portions of Excel tables, produced by the Sanitation Districts of
     11       Los Angeles County, dated October 25, 2013.
     12     438 – Plume Figures Showing Recent Sampling Analysis, prepared by J.
     13       Dagdigian, various dates.
     14     446 – Expert Report of B. Dickson, dated November 18, 2013.
     15     452 – Recent documents from RWQCB.
     16
            454 – Sewer Inspection Video, dated February 24, 2010.
     17
            455 – Sewer Inspection Video, dated October, 13, 2010.
     18
            474 – Alpha Scientific analytical results w/sample dates 12/28/12, 1/24/13 and
     19
              10/30/13.
     20
            475 – Cone Penetration Test data from Gregg Drilling 12/27/2012 and 8/26-
     21
              27/13.
     22
            476 – CPT 36-43 Boring Logs, 12/27/12.
     23
            477 – CPT 44-55 Boring Logs, 8/26/13.
     24
            478 – CPT Site Investigation Report from Gregg Drilling, dated 12/31/12.
     25
            479 – CPT Site Investigation Report from Gregg Drilling, dated 8/28/13.
     26
            480 – TOR Phase I Environmental Site Assessment Report (full), dated July
     27
              11, 2011.
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      1       481– Letter from W. Manis (City of Cerritos Redevelopment Agency) to D.

      2         Esfandi (County of L.A. Public Works), Re: Closure Permit No. 4589B, dated

      3         July 17, 1990.

      4       482 – Letter from K. Thomson (EST) to L. Olsen (Bixby), Re: Project Status
      5         Report, dated October 9, 1998.
      6       483 – Letter from K. Thomson (EST) to T. Klinger (CLAFD), Re: Request for
      7         Project Evaluation and Site Closure, dated August 3, 1999.
      8       484 – Fax coversheet to K. Clark (CLAFD) to K. Thomson (EST), dated
      9         October 15, 1999, with attached Work Plan for Site Assessment, dated October
     10         14, 1999.
     11       506 – Lincoln Station Plans prepared by JHH Consultants, 1988.
     12       597 – Roto-Rooter, 2010. Parking Lot Sewer Inspection [DVD], August.
     13       664 – GIS Map.
     14       666 – 3-D Demonstrative Plume Exhibit.
     15
              704 – Technical Response to City of Cerritos Letter Dated 3 December 2010,
     16
                prepared by Geosyntec Consultants January 7, 2011.
     17
              708 – Declaration of Jeffrey Dagdigian In Support of Motion for Partial
     18
                Summary Judgment.
     19
              737 – AQMD permit and application papers.
     20

     21
           DATED: February 27, 2014                Respectfully submitted,
     22
                                                   GLASER WEIL FINK JACOBS
     23                                             HOWARD AVCHEN & SHAPIRO LLP
     24

     25                                            By: /s/ Noah Perch-Ahern
                                                      FRED HEATHER
     26                                               GREGORY MCCLINTOCK
                                                      NOAH PERCH-AHERN
     27                                               Attorneys for Plaintiff
                                                      MGP IX LINCOLN
     28                                               STATION, LLC
                                                    60
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